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                          EXHIBIT 3
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                                                MVC TRUST AGREEMENT




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                                                MVC TRUST AGREEMENT

                 THIS MVC TRUST AGREEMENT (“Trust Agreement”) is effective as of the _____ day of
        ____________, 20__ (“Effective Date”), by and among ____________________, whose address is
        _______________, as “Trustee,” which designation shall include any substitute trustee and all successor
        trustees, Marriott Ownership Resorts, Inc., a Delaware corporation, whose address is 6649 Westwood
        Boulevard, Orlando, Florida 32821-6090 (“Developer”), and MVC Trust Owners Association, Inc., a
        Florida not-for-profit corporation, whose address is 6649 Westwood Boulevard, Orlando, Florida 32821-
        6090 (“Association”).

                                                    W I T N E S S E T H:

                 WHEREAS, Developer is the owner of (or has an option or other contractual right to purchase)
        certain property, which shall be conveyed or assigned to the Trustee and thereby subject to the terms and
        conditions of this Trust Agreement (“Initial Property”);

               WHEREAS, Developer desires to establish a land trust (as further defined in Article II below, the
        “Trust”), as settlor of the Trust pursuant to Section 689.071, Florida Statutes (2010);

                 WHEREAS, Developer will transfer legal and equitable title to the Initial Property (or will
        otherwise cause legal and equitable title in the Initial Property to be transferred) to the Trustee as trustee
        of the Trust (the Initial Property, together with any other property transferred to Trustee now or hereafter
        pursuant to this Trust Agreement, shall be referred to as the “Trust Property”);

                WHEREAS, Developer desires to establish a vacation ownership plan with respect to the Trust
        Property, which vacation ownership plan shall be known as Marriott Vacation Club Destinations (as
        further defined in Article II below, “Trust Plan”);

                WHEREAS, each Interest (as defined in Article II below) in the Trust Plan shall consist of a
        beneficial interest in the Trust;

                 WHEREAS, Developer desires to offer for sale vacation ownership interests in the Trust Plan;

               WHEREAS, ownership of an Interest shall entitle the owner thereof the right to reserve, use, and
        occupy the Trust Property in accordance with and subject to this Trust Agreement and the other Trust
        Plan Documents (as defined in Article II below);

                WHEREAS, the purpose of the Trust shall be to hold the Trust Property for the benefit of the
        Beneficiaries (as defined in Article II below) pursuant to this Trust Agreement and other Trust Plan
        Documents;

                 WHEREAS, Trustee is authorized and qualified to conduct trust business in the State of Florida;
        and

               WHEREAS, Trustee has agreed to accept the transfer of legal and equitable title to the Trust
        Property and has agreed to hold the Trust Property for the use and benefit of the Beneficiaries in
        accordance with the terms and conditions of this Trust Agreement.

                 NOW, THEREFORE, in consideration of the mutual promises contained in this Trust Agreement,
        Trustee, Developer, the Association, and all Beneficiaries through their acceptance of Interests
        (collectively, the “Parties”) hereby agree as follows:



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                                                  ARTICLE I. RECITALS

               The foregoing recitals are hereby ratified, confirmed, and approved, and are incorporated in this
        Trust Agreement by reference to show the intent of the Parties.

                                                ARTICLE II. DEFINITIONS

                All capitalized terms used in this Trust Agreement shall have the meanings ascribed to such
        terms as set forth in this Article II, unless the context requires otherwise.

                 Section 2.1      Accommodation means an accommodation, condominium unit, apartment, co-
        operative unit, single family home, efficiency cabana, cottage, attached or free standing townhome or
        villa, fee interest, leasehold interest, unit located in a multi-unit building, and that portion of the
        Component(s) or other similar real property interests that is subject to exclusive ownership or use by one
        or more persons.

                Section 2.2      Affiliation Agreement means a contract between an Exchange Company,
        Association, Developer, and Trust Manager, as it is amended from time to time, pursuant to which the
        Trust Properties are included in an Exchange Program, and Beneficiaries are entitled to certain benefits
        and services of the Exchange Program.

                Section 2.3      Annual Dues means the amount assessed against a Beneficiary for the
        Beneficiary’s share of the Common Expenses pursuant to this Trust Agreement.

                 Section 2.4       Articles means the Articles of Incorporation of the Association as amended from
        time to time, the initial copy of which is attached to this Trust Agreement as Exhibit “A.”

                Section 2.5     Assessments means the Annual Dues and any other amounts, whether
        characterized as maintenance fees, fines, charges, fees, taxes, assessments, special assessments, or
        otherwise, levied against a Beneficiary by the Association pursuant to the terms and conditions of the
        Trust Plan Documents, and more specifically described in the Association’s Bylaws.

                Section 2.6      Association means MVC Trust Owners Association, Inc., a Florida corporation
        not-for-profit, formed by the Developer for the purpose of maintaining and operating the Trust Plan and
        Trust Property, which Association will be comprised of all Beneficiaries of the Trust, from time to time,
        with such powers as are set forth in this Trust Agreement, the Articles, and the Bylaws.

              Section 2.7    Association Delegee means Program Manager for so long as an Affiliation
        Agreement with Program Manager is in effect, and thereafter shall mean the Trust Manager.

                Section 2.8     Association Property means all real and personal property owned or leased by
        the Association from time to time for the use and benefit of Beneficiaries.

               Section 2.9      Base Interest means six (6) Interests; provided, however, in the case of a Legacy
        Owner, a Base Interest shall mean two (2) Interests.

                 Section 2.10     Beneficiaries means the owners of Interests, including Developer.

                 Section 2.11     Board means the board of directors of the Association.

                  Section 2.12    Bylaws means the Bylaws of the Association, as amended from time to time, the
        initial copy of which is attached to this Trust Agreement as Exhibit “B.”


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                Section 2.13    Chapter 721 means the provisions of Chapter 721, Florida Statutes, as the same is
        constituted on the Effective Date of this Trust Agreement except to the extent that the applicability of
        future amendments to Chapter 721 is mandatory or unless otherwise stated in this Trust Agreement.

                  Section 2.14       Claims means all claims, actions, causes of action, suits, liabilities, damages,
        losses, costs and expenses, including, without limitation, court costs, reasonable attorneys’ fees and
        expenses, paralegal fees, settlement costs, and judgments at all trial and appellate levels and whether suit
        be brought or not, and any fees, fines, or penalties assessed by any governmental or quasi-governmental
        agency incurred by the Trustee in connection with this Trust Agreement except to the extent such are
        caused by the gross negligence or willful misconduct of Trustee, of Trustee’s parents, subsidiaries and
        affiliates, or of their officers, directors, managers, equity holders, employees, agents, and representatives,
        or of all of those claiming by, through or under any of the foregoing, and all of their successors and
        assigns.

                 Section 2.15   Common Expenses means all expenses properly incurred in the ownership,
        maintenance, management, operation, repair, and replacement of the Trust Property (exclusive of
        Restricted Use Property Expenses) and the Association Property, in the operation of the Trust Plan, and
        by the Association in the performance of its duties, including Exchange Company Dues and any other
        fees, expenses, or Claims payable by the Association from time to time, and such other expenses defined
        in this Trust Agreement to be Common Expenses. Common Expenses include any assessments due
        under any Component Declarations to which any of the Trust Property may also be subject.

                Section 2.16   Component means those Accommodations located in a specific geographic
        location under common management, which constitute in whole or in part, any portion of the Trust
        Property, and related amenities and recreational facilities. The Association Delegee retains the right to
        determine what constitutes a Component in the Association Delegee’s sole discretion from time to time.

                Section 2.17    Component Association means any owners’ association or similar organization
        governing the use, operation, repair, replacement, or maintenance of a portion of the Trust Property, but
        excluding the Association.

                Section 2.18   Component Declaration means any condominium declarations, community
        governing instruments, declaration of covenants, or such other documents which might now or in the
        future encumber and govern any portion of a Component. Component Declaration also includes all the
        exhibits to encumbering documents and all documents governing the Component Association for such
        Component, as such may be amended from time to time.

                Section 2.19      Component Ownership Interests means timeshare estates or other timeshare or
        fractional interests created in the Components pursuant to and as further described in the Components’
        governing documents.

                 Section 2.20    Developer means Marriott Ownership Resorts, Inc., a Delaware corporation, the
        settlor of the Trust. No party other than Developer or Developer’s affiliates, successors, or assigns shall
        exercise the rights and privileges reserved in this Trust Agreement to Developer unless such party
        receives and records in the Public Records of Orange County, Florida a written assignment from
        Developer of all or a portion of such rights and privileges.

              Section 2.21     Division means the Division of Florida Condominiums, Timeshares, and Mobile
        Homes of the Florida Department of Business and Professional Regulation.

               Section 2.22       Effective Date shall have the meaning ascribed to such term on page 1 of this
        Trust Agreement.


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              Section 2.23        Exchange Company means either an External Exchange Company or Program
        Manager.

                Section 2.24    Exchange Company Documents means the Affiliation Agreement, exchange
        reservation procedures, disclosure guide, and any other instruments governing the use and operation of
        an Exchange Program which are promulgated, executed and/or amended by an Exchange Company
        from time to time.

                 Section 2.25    Exchange Company Dues means the charges assessed by an Exchange Company
        in connection with the operation of an Exchange Program that are assessable to the Association each
        calendar year. The Exchange Company Dues shall be determined in accordance with the Affiliation
        Agreement for such Exchange Program, and may be different amounts for each timeshare plan that is
        affiliated with such Exchange Program.

               Section 2.26    Exchange Program means either an External Exchange Program or any exchange
        program offered by Program Manager.

               Section 2.27   External Exchange Company means any company that provides services to
        Program Manager or the Beneficiaries under an External Exchange Program.

                Section 2.28     External Exchange Program means the contractual arrangement between the
        Association or Program Manager and an External Exchange Company or Companies pursuant to which a
        Beneficiary may reserve, under certain conditions, the use of accommodations in resorts other than those
        which are part of the Trust Property.

              Section 2.29        Initial Property has the meaning ascribed to such term on page 1 of this Trust
        Agreement.

                 Section 2.30  Interest means a beneficial interest in the Trust created pursuant to this Trust
        Agreement, Section 689.071, Florida Statutes (2010), and Chapter 721. Each Interest entitles the owner of
        such Interest to reserve, use, and occupy the Trust Property in accordance with the Trust Plan
        Documents. Each Interest shall constitute a “timeshare estate” as that term is defined by Section 721.05,
        Florida Statutes.

                 Section 2.31    Legacy Owner means a Beneficiary who is the owner of a week-based timeshare
        interest in a resort developed, sold, or offered by Developer or its affiliates where: (i) such week-based
        timeshare interest was acquired prior to the purchase of the Beneficiary’s first Interest, (ii) such week-
        based interest has been enrolled by the Beneficiary in the Exchange Program offered by Program
        Manager, and (iii) the Beneficiary owns a Base Interest.

               Section 2.32    Mortgagee means Developer, Developer’s shareholders, and Developer’s or
        Developer’s shareholders’ affiliates (and any successors in interest to Developer, Developer’s
        shareholders, and Developer’s or Developer’s shareholders’ affiliates as to a purchase money mortgage),
        any trust, savings and loan association, credit union, mortgage company, bank, insurance company,
        commercial loan company, or other institutional lender, to the extent that any of the same hold a first
        mortgage encumbering an Interest.

                Section 2.33      Notice of Submission to Trust Plan means a notice delivered by Developer to the
        Association and Trustee, upon the effective date of which a Trust Property shall be subject to the Trust
        Plan, but shall remain a Restricted Use Property until a delivery of a Notice of Use Rights. The Notice of
        Submission to Trust Plan shall particularly describe the Trust Property being submitted to the Trust Plan
        and the effective date of such submission.


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                 Section 2.34     Notice of Use Rights means a notice delivered by Developer to the Association
        and Trustee, upon the effective date of which Developer and Beneficiaries other than Developer shall be
        entitled to reserve the use and occupancy of the Trust Property particularly described in such notice.

                Section 2.35     Point Schedule means the annual schedule(s) promulgated by the Association
        Delegee which identifies the pertinent information for the Trust Reservation System in a given year,
        including setting forth the number of Points for Use required to reserve Use Periods, all as amended by
        Association Delegee from time to time.

                Section 2.36    Points means the symbolic unit of use comparison initially assigned to a
        Beneficiary’s Interest which signifies the use rights in the Trust Property that are appurtenant to a
        Beneficiary’s Interest.

                Section 2.37     Points for Sale means the number of Points that Developer ascribes to each
        particular portion of the Submission Property on the deed upon conveyance of such Submission Property
        to the Trustee. The total Points for Sale in the Trust at any given time will never exceed the total Points
        for Use at such time.

                Section 2.38      Points for Use means the number of Points that are required to reserve a
        particular Accommodation at a particular time in accordance with the Reservation Procedures. The total
        Points for Sale in the Trust at any given time will never exceed the total Points for Use at such time.

                 Section 2.39     Program Manager means an exchange company operated by Developer or an
        affiliate of Developer that offers exchange and reservation services and related vacation and travel
        benefits to Beneficiaries and other members pursuant to an Affiliation Agreement. Developer reserves
        the right, but not the obligation, to establish Program Manager.

               Section 2.40     Registry means the registry of the Beneficiaries maintained by the Trustee in
        accordance with Section 7.2(e) of this Trust Agreement.

                Section 2.41     Reservation Procedures means the rules and regulations governing the
        reservation and use of the Trust Property by Beneficiaries as adopted by the Board and Developer and as
        amended by the Association Delegee from time to time.

                 Section 2.42     Restricted Use Property means Trust Property that has not been made available
        for use and occupancy by Beneficiaries other than Developer pursuant to a Notice of Use Rights.
        Developer shall be solely responsible for any Restricted Use Property Expenses and Developer shall
        retain all rights to the use, occupancy, enjoyment, and rental of each Restricted Use Property until the
        effective date of the Notice of Use Rights that has been delivered to the Association and Trustee by
        Developer with respect to such Restricted Use Property.

                Section 2.43    Restricted Use Property Expenses means all expenses properly incurred in the
        ownership, operation, maintenance, repair, or replacement of the Restricted Use Property, all costs of
        carrying out the powers and duties of the Association with respect to the Restricted Use Property, all
        applicable insurance premiums and expenses relating thereto, including fire insurance and extended
        coverage, any reserves for capital expenditures and deferred maintenance unless waived, and any other
        expenses designated as Restricted Use Property Expenses, from time to time by the Board or under the
        provisions of this Trust Agreement. Restricted Use Property Expenses include any fees, expenses, or
        Claims that are payable by the Association or Developer to the Trustee with respect to Restricted Use
        Property and any assessments due under any Component Declarations with respect to Restricted Use
        Property and such other expenses defined in this Trust Agreement to be Restricted Use Property
        Expenses. Restricted Use Property Expenses shall only be assessed against Developer and shall only be


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        assessed against particular Restricted Use Property until such time as a Notice of Use Rights with respect
        to such Restricted Use Property is effective and has been delivered to the Association and Trustee.

                 Section 2.44 Rules and Regulations means the Rules and Regulations for MVC Trust as
        established and amended from time to time by the Board in the manner provided in the Bylaws.

                 Section 2.45     Submission Property means the Accommodations, Component Ownership
        Interests, leaseholds, beneficial interests in other trusts, property interests, or other real property that may
        be submitted to the Trust in accordance with this Trust Agreement.

                 Section 2.46     Trust means the MVC Trust established pursuant to this Trust Agreement.

                 Section 2.47    Trust Agreement means this MVC Trust Agreement, together with all of the
        exhibits, schedules and annexes thereto, as amended and supplemented from time to time.

                Section 2.48     Trust Manager means the person or entity engaged by the Association, with
        responsibility for the management and operation of the Trust, Trust Plan, and Trust Property.

                Section 2.49   Trust Plan means Marriott Vacation Club Destinations, the vacation ownership
        plan established by Developer pursuant to this Trust Agreement and in accordance with Chapter 721.

                Section 2.50   Trust Plan Documents means the documents creating or governing the Trust
        Plan including the operation of the use plan in the Trust Property. Trust Plan Documents include this
        Trust Agreement, the Articles, the Bylaws, the Reservation Procedures, and the Rules and Regulations.

                Section 2.51    Trust Property means the Submission Property that has been submitted to the
        Trust in accordance with this Trust Agreement.

                 Section 2.52    Trustee means _______________, its successors and assigns, and any substitute
        trustee and its successors and assigns.

                Section 2.53     Use Period means the time period(s) of a day or consecutive days during which
        each Beneficiary is afforded the opportunity to reserve and use an Accommodation in accordance with
        this Trust Agreement, the Reservation Procedures, and the other Trust Plan Documents.

                 Section 2.54     Use Year means the annual period of time beginning on the first day of the
        month as set forth in a Beneficiary’s deed. The Points allocated to a Beneficiary for a particular Use Year
        are eligible for use during that Use Year, subject to the permitted banking or borrowing of such Points, in
        accordance with the Reservation Procedures.

            ARTICLE III. DECLARATION AND TITLE; PURPOSE OF THE TRUST; COMMITMENT OF
               PROPERTIES TO THE TRUST PLAN; RECORDING AND LEGAL DESCRIPTIONS

                Section 3.1       Declaration and Title. As of the Effective Date, there is established a trust in
        accordance with Section 689.071, Florida Statutes (2010). The Trust shall be irrevocable for so long as any
        Beneficiary has a right to occupy any portion of the Trust Property pursuant to the Trust Plan Documents
        unless the Trust is otherwise terminated in accordance with this Trust Agreement. The Trust shall be
        known as the MVC Trust. The Trustee, as trustee of the Trust, shall hold the Trust Property on behalf of
        the Beneficiaries for the use and purposes as set forth in this Trust Agreement.

               Section 3.2       Purpose of the Trust. The purpose of the Trust is to hold and preserve the Trust
        Property for the benefit of the Beneficiaries as set forth in this Trust Agreement until such time as all of


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        the Trust Property is sold (other than the sale of Interests in the Trust by Developer to purchasers) or
        otherwise disposed of or liquidated or until the termination of this Trust Agreement. Trustee shall not
        manage or operate the Trust Property nor undertake any other activity not strictly necessary to the
        attainment of the foregoing objects and purposes; nor shall Trustee transact business of any kind with
        respect to the Trust Property within the meaning of Chapter 609, Florida Statutes (2010); nor shall this
        Trust Agreement be deemed to be, create or evidence the existence of a corporation, de facto or de jure, a
        Massachusetts Trust, any other type of business trust, an association in the nature of a corporation, a co-
        partnership, or joint venture by or among Trustee, Developer, Association, or any Beneficiaries, or any
        combination thereof.

                 Section 3.3      Submission of Property to Trust.

                        (a)     Commitment of Property to Trust, Trust Plan, and Granting of Use Rights.
        Submission Property shall be submitted to the Trust upon the recording of the deed or other instrument
        which conveys such Submission Property to the Trustee; provided, however, Trust Property shall be
        deemed Restricted Use Property, and shall not be committed to the Trust Plan or eligible for reservation,
        use, or occupancy by Beneficiaries, until such time as Developer has delivered to the Association and
        Trustee the applicable notices as set forth below.

                          At such time that Developer delivers to Association and Trustee a Notice of Submission
        to Trust Plan for a particular Restricted Use Property, such Restricted Use Property will be committed to
        the Trust Plan; however such property will remain a Restricted Use Property. At such time that
        Developer delivers to Association and Trustee a Notice of Use Rights with respect to a particular Trust
        Property, such property shall be committed to the Trust Plan (if a Notice of Submission to Trust Plan had
        not previously been delivered), shall be eligible for reservation, use, and occupancy by Beneficiaries, and
        shall no longer be a Restricted Use Property. Upon delivery of either notice as set forth above, Developer
        shall deliver to Trustee any Component Declarations applicable to the property. No Submission Property
        may be submitted to the Trust or committed to the Trust Plan, nor shall a Notice of Submission to Trust
        Plan or Notice of Use Rights with respect to any Restricted Use Property be delivered to Association and
        Trustee, by any person or entity other than Developer, without Developer’s prior written consent.

                         Until such time as Developer has delivered a Notice of Use Rights with respect to a
        particular Restricted Use Property, Developer shall retain full control over such Restricted Use Property
        and may utilize such Restricted Use Property in any manner including rental, exchange, promotional use,
        or any other purpose in Developer’s sole discretion. Developer shall pay all Restricted Use Property
        Expenses incurred with respect to each Restricted Use Property, and no Common Expenses shall be
        assessed against the Beneficiaries with respect to such Restricted Use Property (nor shall the Association
        be obligated to furnish maintenance or other services to the Restricted Use Property until the Notice of
        Use Rights is delivered). It is expressly understood that there is not a precise formula for allocating the
        Restricted Use Property Expenses; however, the Association will use a commercially reasonable method
        for making such allocation as determined to be equitable by the Association in the Association’s sole
        discretion. Trustee shall not place or consent to the placement of any encumbrances on any Restricted
        Use Property without the prior written consent of Developer. Further, until such time as Developer has
        delivered a Notice of Use Rights with respect to a particular Restricted Use Property, Trustee, within five
        (5) business days following receipt of written notice from Developer, shall convey such Restricted Use
        Property to Developer (or its designee), and upon such conveyance such Restricted Use Property shall no
        longer be deemed Trust Property.

                        Notwithstanding the provisions of this Section 3.3, Developer may assign its right to
        submit property to the Trust together with its right to deliver a Notice of Use Rights or Notice of
        Submission to Trust Plan with respect to such property to any person or legal entity in Developer’s sole
        discretion. To the extent that such other person or legal entity is not a party to this Trust Agreement and


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        is not thereby indemnifying Trustee, then such person or entity shall be required to provide the same
        indemnifications provided by Developer under this Trust Agreement and any other agreement executed
        in connection with this Trust Agreement, including any amendments, restatements, and supplements to
        such agreements. Nothing in this Trust Agreement shall be deemed to preclude Developer from
        delivering a Notice of Use Rights with respect to any Restricted Use Property without first delivering a
        Notice of Submission to Trust Plan. In such case, the Notice of Use Rights will also be deemed to subject
        such Restricted Use Property to the Trust Plan. The requirements of this Section 3.3(a) regarding the
        provision of a Notice of Submission to Trust Plan or a Notice of Use Rights to the Trustee shall not be
        applicable to the Association in the event the Association submits property to the Trust as a result of any
        condemnation proceeding or casualty loss as set forth in the Bylaws, and any such property submitted by
        the Association shall be deemed immediately available for use by the Beneficiaries upon submission to
        the Trust. Further, notwithstanding anything in this Trust Agreement to the contrary, no property shall
        be submitted to the Trust that would, in Developer’s sole discretion, create any adverse tax consequences
        for the Developer or any of Developer’s subsidiaries or affiliates.

                          (b)    Retention of Development Rights. Notwithstanding Developer’s submission of
        Submission Property to the Trust pursuant to Section 3.3(a) of this Trust Agreement, until delivery of the
        Notice of Use Rights with respect to any particular Restricted Use Property, Developer shall retain, and
        Trustee by execution of this Trust Agreement hereby assigns and grants to Developer, all rights and
        entitlements necessary to develop, construct improvements on, and furnish and equip the Restricted Use
        Property and deliver to the Beneficiaries the Accommodations and facilities of the Trust Plan as
        contemplated by the Trust Plan Documents, in each case without the requirement to obtain the consent of
        any party. The rights retained by Developer under this Section 3.3(b) shall include the right to grant any
        easements and apply for and obtain any and all permits, entitlements, approvals, licenses, authorizations,
        certificates of occupancy, and similar documents necessary to develop, construct improvements on, and
        furnish and equip the Restricted Use Property from time to time as Developer may deem appropriate in
        Developer’s sole and unfettered discretion. Trustee and the Beneficiaries hereby reserve the right to grant
        such easements as are necessary to carry out the purposes of this Section 3.3(b) and agree to execute such
        documentation as may be reasonably necessary to evidence such easements to Developer. Until delivery
        of the Notice of Use Rights with respect to any particular Restricted Use Property, no Beneficiaries (other
        than Developer) shall have any rights with respect to such property, and each Beneficiary, by acceptance
        of an Interest, acknowledges and consents to the rights reserved to Developer pursuant to this Section
        3.3(b) and in the event that any rights of Beneficiaries (other than Developer) are deemed to exist in such
        property, each Beneficiary, by acceptance of an Interest, assigns such rights to Developer.

                 Section 3.4      Recording and Legal Descriptions.

                        (a)   Deeds to Trustee. For purposes of establishing the Trust pursuant to this Trust
        Agreement and submitting additional property to the Trust from time to time, deeds or any other
        instruments of conveyance of Submission Property to Trustee as trustee of the Trust, shall provide the
        following:

                                 (i)    A legal description of the Submission Property being submitted to the
        Trust together with a graphic description of such property, at grantor’s discretion;

                                (ii)    A statement that all legal title and equitable title to the Submission
        Property is being conveyed to Trustee as trustee of the Trust under this Trust Agreement;

                               (iii)    Upon conveyance of the Submission Property to Trustee by Developer or
        Developer’s successors or assigns, or at Developer’s direction, all Interests in the Trust created by the
        conveyance of such Submission Property to the Trust shall immediately and automatically vest in
        Developer pursuant to this Trust Agreement and that certain Memorandum of Trust Agreement recorded


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        in the Public Records of Orange County, Florida, and any deeds conveying such Interests shall be
        recorded in the Public Records of Orange County, Florida;

                                (iv)   A statement identifying the number of Points for Sale associated with the
        existing Trust Property and the number of additional Points for Sale created by the conveyance of the
        additional Submission Property to Trustee;

                                (v)     A statement identifying the number of Interests resulting from the
        conveyance of the additional Submission Property to Trustee;

                              (vi)    That any lien on an Interest in the Trust shall be perfected only upon the
        recording of a mortgage or other legally sufficient notice of such lien in the Public Records of Orange
        County, Florida;

                                 (vii)   That any mortgage or other notice of a lien on an Interest shall constitute
        a lien only on such Interest and no such document shall act as a lien or otherwise encumber Trustee’s title
        to the Trust Property or any other Beneficiary’s Interest;

                                (viii)    Certain easements and other rights with respect to the Trust Property
        that are reserved to Developer, its successors and assigns; and

                                  (ix)     If, in accordance with this Trust Agreement and at Developer’s direction,
        Submission Property is conveyed to the Trustee by a party other than Developer, then Developer shall
        join in or evidence its consent to the deed or other instrument of conveyance.

                         (b)     Deeds of Interests to Beneficiaries. For purposes of conveying Interests in the
        Trust to any purchasers of such Interests, deeds and any other instruments of conveyance of Interests
        shall be recorded exclusively in the Public Records of Orange County, Florida and shall provide that: (a)
        any lien on an Interest in the Trust shall be perfected only upon the recording of a mortgage or other
        legally sufficient notice of such lien in the Public Records of Orange County, Florida; and (b) any
        mortgage or other notice of a lien on an Interest shall constitute a lien only on such Interest and no such
        instrument shall act as a lien or otherwise encumber Trustee’s title to the Trust Property or any other
        Beneficiary’s Interest. It shall not be required that Trustee execute, join, or otherwise consent to any
        mortgage with respect to any Interest or any deed of an Interest to a Beneficiary. Any contract of sale,
        deed, lease, mortgage, will, or other instrument affecting an Interest shall be recorded exclusively in the
        Public Records of Orange County, Florida, and shall describe the Interest by the identifying number
        assigned to the Interest by Developer and the description shall be followed by a reference to this Trust
        Agreement. To illustrate, any instrument affecting title to an Interest will legally describe the Interest in
        substantially the following manner, with such omissions, insertions, recitals of fact or other provisions as
        may be required by the circumstances or appropriate to conform to the requirements of any
        governmental authority or any law relating to such matters:

                         A timeshare estate as defined by Section 721.05, Florida Statutes, more
                         fully described as: ________ Interest(s) (numbered for administrative
                         purposes: __________________) in the MVC Trust (“Trust”) evidenced
                         for administrative, assessment and ownership purposes by _____ Points
                         (250 Points for each Interest), which Trust was created pursuant to and
                         further described in that certain MVC Trust Agreement dated _________
                         ____, 200_, executed by and among _______________, as the trustee of
                         the Trust, Marriott Ownership Resorts, Inc., a Delaware corporation, and
                         MVC Trust Owners Association, Inc., a Florida corporation not-for-
                         profit, as such agreement may be amended and supplemented from time


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                         to time, a memorandum of which is recorded in Official Records Book
                         ____, Page ____, Public Records of Orange County, Florida (“Trust
                         Agreement”). The Interest(s) shall have a Use Year anniversary of
                         _________ (subject to Section 3.5 of the Trust Agreement).

                Section 3.5      Use Year. Each Interest will have a Use Year designated in the initial deed for
        such Interest. No person other than Developer (and Developer’s affiliates and assigns) may alter the Use
        Year for an Interest; provided that any such alteration by Developer or Developer’s affiliates or assigns
        may only redesignate the Use Year anniversary in a manner that ensures a one-to-one use right to use
        night requirement ratio. Any such redesignation shall be evidenced by an instrument recorded in the
        Public Records of Orange County, Florida.

                 Section 3.6      Termination of Trust Plan. In the event of termination of the Trust Plan in
        accordance with this Trust Agreement, Trustee may convey the Trust Property in accordance with Section
        7.2(b) of this Trust Agreement.

              ARTICLE IV. BENEFICIARIES; TRANSFER OF BENEFICIAL INTERESTS; RIGHTS AND
                                   OBLIGATIONS OF BENEFICIARIES

                 Section 4.1      Beneficiaries.

                         (a)      Designation of Beneficiaries. The initial Beneficiary of the Trust shall be
        Developer. Developer, as the initial settlor and sole Beneficiary as of the Effective Date, reserves and
        retains all Interests in the Trust until such Interests are conveyed by Developer to purchasers of such
        Interests in accordance with this Trust Agreement. Developer may transfer any portion or all of its
        Interests in the Trust Property to purchasers of such Interests. Each purchaser who purchases, or
        otherwise lawfully acquires, an Interest from Developer shall be a Beneficiary of the Trust. Developer
        shall also be a Beneficiary of the Trust for so long as Developer holds ownership of any unsold or
        reacquired Interests. No one may become a Beneficiary by acquiring an Interest from any transferor
        other than Developer unless such transfer occurs strictly in accordance with this Trust Agreement.

                         (b)     Interests of Beneficiaries; Nature of Interests. The interest of each Beneficiary
        (other than Developer) in the Trust will be evidenced by a deed issued to the Beneficiary at the time of
        closing of the Beneficiary’s purchase of an Interest as described in Section 3.4(b) of this Trust Agreement.
        Each Beneficiary’s Interest shall include the right of such Beneficiary to reserve and use the Trust
        Property (excluding the Restricted Use Property) in accordance with the Trust Plan Documents.
        Furthermore, for so long as the Trust remains affiliated with an Exchange Program, such Beneficiary shall
        be entitled to make exchange reservations in accordance with and subject to the provisions of the
        applicable Exchange Company Documents. The Interests will each be deemed to be Florida real property
        interests and may be transferred as such and only transferred pursuant to the provisions of this Trust
        Agreement, Section 689.071, Florida Statutes (2010), and Chapter 721.

                         (c)      No Legal or Equitable Title. The interest of a Beneficiary under this Trust
        Agreement shall consist of the rights set forth in this Trust Agreement. No Beneficiary shall have any
        right of partition as to any Trust Property or any Interest, other than as may be permitted by Developer.
        A Beneficiary shall not have any right, title, or interest in or to any portion of the legal and equitable title
        to the Trust Property. If a Beneficiary is a human being, the death of the Beneficiary shall not terminate
        the Beneficiary’s Interest, the Trust, or this Trust Agreement, or affect the rights or powers of the Trustee,
        the Association, Developer, or the other Beneficiaries. Upon the death of a Beneficiary, the Beneficiary’s
        Interest shall be subject to and transferred in accordance with applicable testamentary laws, regulations,
        and procedures.



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                        (d)     Timeshare Estates. Each Interest shall constitute a timeshare estate as that term
        is defined in Chapter 721, and shall be deemed an interest in real property.

                       (e)      No Authority. No Beneficiary shall have the authority to contract for or in the
        name of the Trustee or any other Beneficiary or to bind the Trustee or any other Beneficiary personally.

                 Section 4.2      Transfers of Interests.

                         (a)      Alienability of Interests. Subject to Sections 4.2(b), (c), and (e) below, the right of
        a Beneficiary to sell, transfer, assign, or hypothecate the Beneficiary’s Interest shall not be subject to the
        approval of Developer, Trustee, or the Association. Accordingly, subject to Sections 4.2(b), (c), and (e)
        below, a proper transfer or conveyance of such Interest shall not require the written approval of
        Developer, Trustee, or the Association. However, in accordance with the Bylaws and applicable Florida
        law, a grantee Beneficiary is required to notify in writing Developer, the Association, and Trustee at the
        addresses set forth in this Trust Agreement of any change in information kept in the Registry by Trustee
        upon the transfer or conveyance of an Interest, and to pay any transfer or administrative fee required
        under the Trust Plan Documents. Until such written notice is received by the parties noted above and all
        transfer or administrative fees are paid, the seller of such Interest shall remain liable for the payment of
        all Assessments, taxes, and other fees then due or which may later become due with relation to the
        Interest.

                           The right of a Beneficiary to sell, transfer, or assign such Beneficiary’s Interest shall be
        subject to: (i) this Trust Agreement and all covenants, conditions, and restrictions set forth or referred to
        in this Trust Agreement; (ii) the covenant of the purchaser to the Association to perform and observe all
        covenants on the part of the Beneficiary; (iii) the payment of any sums due to the Association as
        Assessments and member education fees; (iv) Developer’s right of first refusal under Section 4.2(b) below;
        and (v) the restriction imposed under Section 4.2(e) below. Further, the Association Delegee has the right
        to create such reservation approval restrictions as it deems necessary from time to time, and compliance
        with such restrictions is required before and during possession and occupancy of Trust Property.

                          The United States Department of the Treasury, Office of Foreign Assets Control
        (“OFAC”), prohibits Developer, Trustee, Association, Trust Manager, Program Manager, and
        Beneficiaries from engaging, directly or indirectly, in transactions with individuals or entities on OFAC’s
        list, as updated from to time to time, of Specially Designated Nationals and Blocked Persons (the “SDN
        List”). OFAC also administers, from time to time, sanction and embargo programs involving certain
        designated countries (each an “Embargoed Country”). If at any time a Beneficiary (and the Beneficiary’s
        members, shareholders, owners, and affiliates if the Beneficiary is an entity) becomes, or is discovered to:
        (i) be an individual, organization or other entity included on the SDN List or is owned or controlled by,
        or acting for or on behalf of, an individual, organization, or other entity included on the SDN List; (ii) be a
        resident or national of any Embargoed Country; (iii) be affiliated with, or gives support to or receives
        support from, any terrorist, terrorist organization, narcotics trafficker or person engaged in activities
        related to the proliferation of weapons of mass destruction; (iv) be an individual, organization or other
        entity with whom other Beneficiaries, Developer, Trustee, Trust Manager, Program Manager, or
        Developer’s, Trustee’s, Trust Manager’s, or Program Manager’s affiliates are prohibited from transacting
        business; (v) be out of compliance with any applicable anti-money laundering laws, including, without
        limitation, the USA Patriot Act of 2001, as amended from time to time, and the laws and regulations
        implemented, enforced, or administered by OFAC, including, without limitation, Executive Order 13224;
        (vi) have any employee, director, officer, funding source, or other person or entity with a controlling
        interest in a Beneficiary or any of a Beneficiary’s affiliates that is on the SDN List; (vii) be directly or
        indirectly controlled by the government of any country or person that is subject to an embargo by the
        United States government that prohibits other Beneficiaries, Developer, Trustee, Trust Manager, Program
        Manager, or Developer’s, Trustee’s, Trust Manager’s, or Program Manager’s affiliates from conducting


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        the business activities contemplated by this Trust Agreement; or (viii) be acting on behalf of an
        Embargoed Country (collectively, a “Prohibited Beneficiary”), Beneficiary shall, immediately and
        without further action or notice on behalf of Trustee or Association, forfeit any use, voting and other
        rights attached to the Interests owned by the Prohibited Beneficiary until such Prohibited Beneficiary is
        no longer a Prohibited Beneficiary. During such time that a Beneficiary is a Prohibited Beneficiary or
        Prohibited Transferee (as defined below), the use, voting and other rights attached to the Interests owned
        by the Prohibited Beneficiary shall be held by the Association. Upon the occurrence of such an event,
        Beneficiary shall waive any claims it may have against Developer, Trustee, Trust Manager, and
        Association, and their parent and sister companies, affiliates, subsidiaries, employees, agents, officers and
        directors as a result of such forfeiture and will indemnify Developer, Trustee, Trust Manager, and
        Association and their parent and sister companies, affiliates, subsidiaries, employees, agents, officers and
        directors for any losses incurred by them arising from Beneficiary’s status as a Prohibited Beneficiary.
        Further, Beneficiary shall not transfer or attempt to transfer Beneficiary’s Interests to any individual,
        organization or other entity which would be considered a Prohibited Beneficiary under the terms of this
        Trust Agreement (a “Prohibited Transferee”). Any such transfer or attempted transfer may subject
        Beneficiary to fines or other liabilities, and such transaction may be declared null and void. Beneficiary
        hereby agrees to indemnify and hold harmless Developer, Trustee, Trust Manager, and Association and
        their parent and sister companies, affiliates, subsidiaries, and the employees, agents, officers and
        directors of each from any losses incurred by them arising from Beneficiary’s transfer or attempted
        transfer of Beneficiary’s Interests to any Prohibited Transferee.

                           (b)     Right of First Refusal. In consideration of the affirmative obligations of and
        benefits to all Beneficiaries provided by Developer under this Trust Agreement, when any Interest is
        offered for sale by successors in title to Developer, Developer shall have the exclusive option to purchase
        such Interest at the price and on the other terms of any bona fide offer made in writing to the Beneficiary
        at such time and submitted to Developer for verification. Each Beneficiary shall notify Developer in
        writing of its intent to sell and provide Developer with a copy of the offer received. Such notice shall
        include the full terms and conditions of the sale, and the full name and primary address of the
        prospective true buyer (as distinguished from agents and intermediaries). Notice of a Beneficiary’s intent
        to sell shall be sent to Developer at 6649 Westwood Boulevard, Orlando, Florida 32821-6090, or such other
        department or address as may be designated by Developer from time to time. Developer shall have
        thirty (30) days after receipt of such notice to exercise its option to purchase the Interest at the same price
        and on the same monetary terms and conditions as the verified offer. If Developer does not notify the
        Beneficiary of its election to purchase the Interest within such thirty (30) day period, then the Beneficiary
        may sell the Interest to the subject bona fide offeror subject to this Trust Agreement and to all limitations
        set forth in this Trust Agreement, at a price not lower than that which was offered to Developer. In
        addition, any permitted sale between a Beneficiary and a bona fide third party shall be deemed to contain
        a provision requiring that any sums due to the Association as Assessments must be paid in full as a
        condition of closing of the sale. Should, however, such sale to a third party not be consummated within
        four (4) months after the date the offer is transmitted to Developer at the price and on terms equal to or
        less favorable to purchaser than those offered to Developer, the terms and limitations of this Section
        4.2(b) shall again be imposed on any sale. If Developer elects to purchase such Interest, the transaction
        shall be consummated on the terms offered; provided, however, that Developer shall have a minimum of
        thirty (30) days from the delivery of notice of Developer’s election to exercise Developer’s option under
        this Section 4.2(b) to consummate the transaction. The provisions of this Section 4.2(b) shall not apply to
        sales under powers contained in mortgages and similar instruments or to transfers upon the death of a
        Beneficiary, a divorce decree, a gift or bequest of an Interest from a Beneficiary to his/her spouse, to
        his/her direct descendants, to the trustee of a trust or other entity established primarily for the benefit of
        the Beneficiary, his/her spouse or his/her descendants, or to the Beneficiary’s legal guardian, but the
        provisions of this paragraph shall apply to any further assignment (whether voluntarily, by operation of
        law, at judicial sale, or otherwise) by said Beneficiary’s spouse, direct descendants, such trustees, or such
        guardian to the same extent that such provisions would have applied to said Beneficiary. Developer’s

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        right of first refusal as set forth herein shall also be binding upon any successor in title to a Beneficiary,
        the same being a covenant running with the land. In addition to any available remedies at law or equity,
        Developer may impose an administrative charge, not to exceed One Dollar ($1.00) U.S. per Point, in
        connection with the waiver of this right of first refusal.

                         (c)      Leasing or Rental Restrictions for Periods of Less Than Three Years. The right of
        a Beneficiary to lease or rent the Use Period(s) related to the Beneficiary’s Interest (or enter into any other
        agreement relating to use of the Trust Property if not designated as a “lease”) for periods of less than
        three (3) years shall not be subject to the approval of the Association; however, notice of such lease or
        rental of any Use Period must be delivered to the Association within five (5) days after the Beneficiary’s
        agreement to lease or rent. Any leasing or rental agreements must set forth or will be deemed to have set
        forth an acknowledgment and consent on the part of the lessee-sublessee-tenant to use, occupy, and
        possess such Use Period and the Trust Property in conformance and compliance with the provisions of
        this Trust Agreement and the other Trust Plan Documents. In the event a Beneficiary fails to secure a
        written leasing or rental agreement, the Association shall have the right to require the lessee-sublessee-
        tenant to execute an acknowledgment to use and occupy the rental or leased Use Period and the Trust
        Property in conformance with this Trust Agreement and the other Trust Plan Documents. Nothing in this
        Trust Agreement shall be deemed to affect: (i) Developer’s exclusive right to use the Trust Property for
        the purposes reserved to Developer set forth in Section 12.2, below; (ii) Developer’s (or Developer’s
        designees’ or affiliates’) exclusive right to utilize Points assigned to Developer’s Interests or any other
        Points that Developer is entitled to use for any purpose, including, without limitation, in their discretion
        any purpose related to marketing, selling, promoting the Trust Plan, extending rights for purposes of
        employee, customer or public relations or utilizing Use Periods or Points in manners which will enhance
        or expand the Trust Plan; (iii) any use by Developer (or its affiliates or designees) of any Trust Property
        prior to delivery by Developer of a Notice of Use Rights with respect to such Trust Property; or (iv)
        Developer’s, Exchange Company’s, Program Manager’s, and Trust Manager’s (or their affiliates or
        designees) right to use the Accommodations and Points as permitted in the Bylaws. The rights reserved
        to Developer in this paragraph may be assigned by Developer.

                          (d)     Transfers by Developer. Notwithstanding anything in this Trust Agreement to
        the contrary, Developer may sell Interests to purchasers for cash or other terms acceptable to Developer.
        Developer may finance, with one or more lenders, the Trust Property, and Developer may deliver to any
        such lender deeds of trust, mortgages, or other security instruments or liens against such Trust Property;
        provided, however, that any such deed of trust, mortgage, or other security instruments or lien against
        the Trust Property shall be made subject to a nondisturbance and notice to creditors instrument, a
        subordination and notice to creditors instrument, or an alternate assurance in accordance with Section
        721.53, Florida Statutes.

                         (e)      Transfers by Beneficiaries Other than Developer. Other than a conveyance of all
        of a Beneficiary’s Interests, no Beneficiary, other than Developer, shall voluntarily sell, transfer, assign, or
        hypothecate any number of Interests, the sale, transfer, assignment, or hypothecation of which will result
        in the Beneficiary or any other Beneficiary owning less than a Base Interest. This subsection shall not
        apply to sales or transfers between a Beneficiary and the Developer or the Association. Upon
        reacquisition by Developer of Interests from a Beneficiary, Developer may reconvey such Interests (and
        the Points related thereto) in any increment, subject to subsection 4.2(d) above. Except as otherwise set
        forth in this Trust Agreement and the Bylaws, no Base Interest may be subdivided by any Beneficiary
        other than Developer.




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                Section 4.3    Rights of Beneficiaries. Except for the rights reserved to Developer under this
        Trust Agreement, the rights of each Beneficiary shall consist solely of the following with respect to the
        Trust Property:

                       (a)      Use. The right to use and enjoy the Trust Property (exclusive of Restricted Use
        Property) pursuant to the Trust Plan Documents and the applicable Exchange Company Documents.

                        (b)     Receipt of Proceeds. The right to receive the proceeds and avails from any
        conveyance, hypothecation, mortgage, assignment, lease, transfer, encumbrance, or other disposition of
        the Trust Property permitted under this Trust Agreement other than conveyances, hypothecations,
        mortgages, assignments, leases, transfers, encumbrances, or other dispositions made or executed by
        Developer pursuant to this Trust Agreement and applicable law. The proceeds and avails to be received
        by the Beneficiaries in accordance with this Section 4.3(b) shall be distributed to the Beneficiaries in
        proportion to the Beneficiaries’ respective Interests. The conveyance of Interests by Developer or any
        other Beneficiary to any purchasers of such Interests shall not be subject to the provisions of this Section
        4.3(b).

                         (c)      Prohibition on Encumbrances. Except for: (i) the rights of a Beneficiary to
        transfer such Beneficiary’s Interests to third parties as set forth in Section 4.2 of this Trust Agreement, (ii)
        the right of a Beneficiary to mortgage such Beneficiary’s Interests, and (iii) the rights reserved to
        Developer under this Trust Agreement to convey, hypothecate, mortgage, assign, lease, or otherwise
        transfer or encumber the Trust Property, Beneficiaries shall have no authority, express or implied, to
        convey, hypothecate, mortgage, assign, lease, or otherwise transfer or encumber in any fashion any
        interest in or portion of the Trust Property. Any encumbrance of the Trust Property or any portion of or
        interest in the Trust Property by a Beneficiary in contravention of this Section 4.3(c) shall not be
        recognized by Developer, the Association, or Trustee and shall be void and of no effect.

                                                ARTICLE V. TRUST PROPERTY

                 Section 5.1     Trust Property. The assets of the Trust shall be the Trust Property held by the
        Trustee from time to time. Trust Property may be comprised of various types of Submission Property,
        including amenities and recreational facilities, condominium units, apartments, cooperative units, single
        family homes, efficiency cabanas, cottages, attached or free standing townhomes and villas, fee interests,
        leasehold interests, and units located in multi-unit buildings. Developer shall determine, in its sole
        discretion, the Submission Property to be submitted to the Trust as Trust Property, and when additional
        Submission Property may be submitted, if at all. Any Assessments held by the Association and any
        reservation system or other property held or owned by the Association or the Trust Manager shall not be
        part of the Trust Property. Title to the Trust Property shall be conveyed to Trustee as trustee of the Trust
        in accordance with, and the rights of the Parties to this Trust Agreement, including the Beneficiaries, shall
        be governed, to the extent applicable, by the provisions of Section 689.071, Florida Statutes and Chapter
        721, as applicable. Upon the furnishing of a title commitment or title insurance policy for such Trust
        Property, Trustee agrees to accept any conveyances of the Trust Property and to cause such conveyances
        to be recorded in the respective jurisdictions in which such Trust Property is located, and to hold title to
        the Trust Property for the uses and purposes set forth in this Trust Agreement. All monies required by
        the Trustee to record such conveyances including all appropriate documentary stamp taxes, transfer
        taxes, and recording fees, shall be paid by Developer, as the initial Beneficiary. Except as otherwise
        permitted by Section 5.3(a) of this Trust Agreement, no Beneficiary may dedicate or cause any other
        property to be conveyed to Trustee under this Trust Agreement without the prior written consent of
        Trustee and Developer.

                 Section 5.2      Base Interest; Assignment of Points.



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                         (a)     Base Interest. Each Interest in the Trust is allocated 250 Points in accordance
        with Article II, Section 7 of the Bylaws. Notwithstanding the foregoing, subject to Section 5.4(e), no
        Beneficiary, other than Developer, may own less than a Base Interest. The Association Delegee is not
        required to accept any reservation requests for a Use Period from a Beneficiary who owns less than a Base
        Interest at any time other than during the Open Reservation Period (as defined in the Reservation
        Procedures). In addition, the Association Delegee has the right to require Beneficiaries to utilize the same
        Use Year for all Interests owned by a Beneficiary, regardless of when such Interests are purchased. The
        number of Interests comprising a Base Interest may in the future be modified by Developer in its sole
        discretion.

                         (b)      Assignment of Points. For administrative convenience in the operation of the
        Trust Plan and to assist in the determination of the respective rights of Beneficiaries to enjoy the benefits
        of ownership of Interests in the Trust Plan, Developer and the Board established a reservation system that
        designates Point allocations for the reservation of each Use Period. Each Use Year, the Association
        Delegee will credit each Beneficiary in the reservation system with the number of Points reflected by the
        deed(s) conveying the Beneficiary’s Interests to the Beneficiary. Such Points represent the reservation
        power of the Beneficiary’s Interests in relation to the other Interests in the Trust Plan, as more fully
        described in the Reservation Procedures. Any increase or decrease in the number of Points for Use for a
        designated Use Period pursuant to the Association Delegee’s right to adjust the Point Schedule must be
        offset by a corresponding decrease or increase to other Use Period(s). THERE IS NO GUARANTEE
        THAT A BENEFICIARY WILL BE ABLE TO USE ALL OF THE BENEFICIARY’S POINTS EACH YEAR
        BECAUSE THE ABILITY OF A BENEFICIARY TO USE ALL OF THE BENEFICIARY’S POINTS IN A
        GIVEN YEAR WILL DEPEND ON: (I) THE USE PERIODS RESERVED BY THE BENEFICIARY; (II) THE
        USE PERIODS RESERVED BY OTHER BENEFICIARIES; AND (III) THE NUMBER OF POINTS
        BANKED FOR USE IN THE IMMEDIATELY FOLLOWING USE YEAR. CONSEQUENTLY, A
        BENEFICIARY MAY HAVE POINTS AT THE END OF A GIVEN USE YEAR WHICH ARE
        INSUFFICIENT TO RESERVE ANY USE PERIOD AND, THUS, THE BENEFICIARY WILL NOT BE
        ABLE TO USE SUCH POINTS, AND WILL NOT BE PERMITTED TO CARRY OVER THE UNUSED,
        UNBANKED POINTS TO THE NEXT USE YEAR. A Beneficiary’s ability to reserve a Use Period in a
        particular Accommodation or Component will depend on, among other factors, the number of Points
        required to reserve the various Accommodations that have been committed to the Trust Plan and the
        number of Points available to the Beneficiary at the time of the reservation request. Additionally, the
        ability of a Beneficiary to reserve a Use Period at a particular Component may be severely limited due to
        the limited number of Accommodations that may be committed to the Trust Plan at that Component.
        DEVELOPER RESERVES THE RIGHT, TO ITSELF AND ASSOCIATION DELEGEE, TO REASONABLY
        REVISE THE POINTS FOR USE ASSIGNMENTS FROM TIME TO TIME WITHOUT BENEFICIARY
        CONSENT IN THE BEST INTERESTS OF THE BENEFICIARIES AS A WHOLE; PROVIDED THAT, THE
        TOTAL NUMBER OF POINTS FOR USE THAT ARE REQUIRED TO RESERVE ALL USE PERIODS IN
        THE TRUST PLAN WILL EQUAL OR EXCEED THE TOTAL NUMBER OF POINTS FOR SALE
        ASSIGNED TO ALL OF THE BENEFICIARIES.

                Developer shall have the exclusive right to create Interests. When additional property is
        submitted to the Trust, the number of Points for Sale in the Trust Property shall increase and equal the
        sum of (a) the number of Points for Sale in existence immediately prior to such time plus (b) the number
        of Points for Sale being added at such time (which shall be identified in the conveyance instrument to the
        Trustee). AS ADDITIONAL PROPERTY IS SUBMITTED TO THE TRUST, EACH BENEFICIARY’S
        UNDIVIDED INTEREST IN THE TRUST WILL BE RECALIBRATED BASED UPON THE FORMULA
        SET FORTH IN THE BYLAWS. For example, assuming that the Trust Property for which a Notice of Use
        Rights has been delivered consists of property that is valued at 20,000 Points for Sale by Developer, then a
        Beneficiary owning a Base Interest (in this case, 6 Interests or 1,500 Points), will have a seven and one-half
        percent (7.5%) interest in the Trust (1,500/20,000). If Developer subsequently delivers to the Association
        a Notice of Use Rights for property with a value of 10,000 Points for Sale, then the total Points for Sale of

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        the Trust Property will be 30,000 Points and the Beneficiary’s Base Interest will have a five percent (5%)
        interest in the Trust (1,500/30,000). The total Points for Sale allocated to the Trust Property will not
        change unless more property is submitted to the Trust and a Notice of Use Rights with respect to such
        property is delivered by Developer to the Association and Trustee, or property is withdrawn from the
        Trust, and then, the only change will be to increase or decrease, as applicable, the total number of Points
        for Sale of the Trust Property by the number of Points for Sale directly attributable to such submitted or
        withdrawn property. Notwithstanding the inability to alter the total number of Points for Sale assigned
        to the entirety of the Trust Property, the Association is obligated, pursuant to Section 9.7 of this Trust
        Agreement, to, from time to time, evaluate the use and demand patterns of each Accommodation, and,
        based on such evaluation, reallocate the number Points for Use required to reserve an Accommodation
        for a particular Use Period. Any such reallocation will cause a corresponding change to the number of
        Points for Use required to reserve other Accommodations during the calendar year. As additional
        property is submitted to the Trust and a Notice of Use Rights is delivered, the number of Points for Use
        will increase at least as much as the corresponding increase in the number of Points for Sale.

                 Section 5.3      Additions and Substitutions of Trust Property.

                          (a)    Additions. Developer may, from time to time, in its sole and absolute discretion,
        cause additional Submission Property to be transferred into the Trust or otherwise made available to the
        Beneficiaries and the Trust without the consent of the Beneficiaries, the Association, or the Trustee;
        provided, however, that Developer is under no obligation to convey any such additional Submission
        Property to the Trust, and the availability of such property for usage shall be determined by Developer,
        in Developer’s sole discretion, in accordance with this Trust Agreement. Prior to the transfer of
        additional property to the Trust pursuant to this Section 5.3(a), any lien or other encumbrance against
        such property shall be made subject to a nondisturbance and notice to creditors instrument, a
        subordination and notice to creditors instrument, or an alternate assurance in accordance with Section
        721.53, Florida Statutes. Trustee agrees to accept the deed to any additional Submission Property
        conveyed to Trustee as trustee of the Trust and to cause said deed to be recorded in the public records of
        the jurisdiction in which such property is located. All monies required by the Trustee to record said deed
        or other documents including, but not limited to, all appropriate documentary stamp taxes, transfer taxes,
        and recording fees, shall be paid by Developer. Any additional Submission Property conveyed to the
        Trust shall be held by Trustee for the uses and purposes set forth in this Trust Agreement.

                        The impact, if any, which the addition of property to the Trust and the delivery of a
        Notice of Use Rights to the Association and Trustee with respect to such property would have upon the
        Trust Plan would be to increase the number of Use Periods that will be available for use by the
        Beneficiaries and such addition may result in the addition of new Beneficiaries who will compete with
        any Beneficiaries existing at the time of such addition in making reservations for the use and occupancy
        of the Trust Property. Additional property shall be conveyed to the Trust in accordance with Section 5.1
        above.

                         At the time of conveyance of additional Submission Property to the Trust pursuant to
        this Section 5.3(a), the deed for such Submission Property being conveyed to the Trust shall include the
        information required by Section 3.4 and this Trust Agreement shall be deemed amended. Upon such
        event and at all times thereafter, the Trust Plan Documents shall govern the ownership, use, and transfer
        of such additional Submission Property as a part of the Trust Property. Upon the conveyance of
        additional Submission Property to the Trust, any Interests associated with such additional Submission
        Property shall be owned by Developer and may be transferred by Developer in any manner permitted by
        this Trust Agreement. It is hereby expressly provided that all Interests created by the addition of
        Submission Property to the Trust by Developer shall immediately and automatically vest exclusively in
        Developer for Developer’s own use and occupancy until such time as such Interests are conveyed to third



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        party purchasers, and such property is made available for use by Developer in accordance with the terms
        of this Trust Agreement.

                         (b)     Substitutions. Substitution of Trust Property is not currently permitted by
        applicable law. However, if substitution of other property is allowed by law or applicable law is
        amended subsequent to the Effective Date to permit the substitution of other property for the then
        existing Trust Property, Developer may, from time to time, in its sole and absolute discretion, perform
        such substitution subject to the following (unless applicable law is subsequently amended to permit more
        flexible standards and procedures for the substitution of Trust Property, in which case such applicable
        law will govern at the option of Developer and Developer may unilaterally amend this Trust Agreement
        to provide for such standards and procedures):

                                 (i)     Upon Developer’s determination to substitute Trust Property, the
        determination of which other property shall be substituted for then existing Trust Property shall be based
        on all relevant factors including the size, capacity, furnishings, maintenance, location (geographic,
        topographic, and scenic), demand, availability for Beneficiary use, and recreational capabilities of the
        existing Trust Property and the proposed substitution property.

                                 (ii)    Any property substituted for existing Trust Property must provide the
        Beneficiaries with an opportunity to enjoy a substantially similar vacation experience as was available
        with the existing Trust Property.

                                (iii)   The substitution of Trust Property under this Trust Agreement may be
        performed without the consent of the Beneficiaries or the Association. Trustee shall join and consent to
        any substitution; provided, however, that a title commitment or title insurance policy shall be provided to
        Trustee for any property submitted to the Trust in connection with any substitution. In addition,
        Developer will deliver to Trustee a certificate stating that the substitution is permitted by applicable law
        and this Trust Agreement.

                                 (iv)     Developer shall provide notice in writing to all Beneficiaries of
        Developer’s intention to delete any Trust Property and to substitute it with another Trust Property
        pursuant to this Section 5.3(b) and as required by Florida law.

                                 (v)     Substitutions of Trust Property may be made only as long as a “one-to-
        one use right to use night requirement ratio,” as defined by Chapter 721, is maintained at all times.

                         In the event Developer elects to substitute other property for the then existing Trust
        Property pursuant to this Section 5.3(b), Developer shall notify Trustee of its intent to substitute the Trust
        Property. After notice of Developer’s intent to substitute the Trust Property has been delivered to
        Trustee, Developer may convey the property to be substituted for the then existing Trust Property to
        Trustee in accordance with Section 5.1 of this Trust Agreement. No later than five business (5) days after
        Developer’s conveyance of the substitution property to Trustee, Trustee shall convey title of the then
        existing Trust Property being removed from the Trust as directed by Developer.

                        (c)      Impact of Additions and Substitutions on Budget. In the event Developer makes
        an addition or substitution of Trust Property pursuant to this Trust Agreement, Developer will be
        permitted, without a vote of the Board or the Beneficiaries, to revise the Association’s budget for such
        year to address such addition or substitution. The addition or substitution of Trust Property may result
        in increased expenses to the Beneficiaries as a result of such addition or substitution.




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                 Section 5.4     Withdrawals of Trust Property. Trustee, at the direction of the Board, and
        subject to the requirements of the Bylaws, may from time to time withdraw Trust Property, or an interest
        therein, from the Trust under any of the following circumstances:

                        (a)      Trust Property Subject to a Component Declaration. With respect to Trust
        Property that has been subjected to a Component Declaration or a similar governing document(s) that
        contemplates the damage of the Trust Property by casualty or the condemnation of the Trust Property, as
        applicable, such Trust Property may be withdrawn from the Trust if:

                                (i)      The Trust Property has been damaged by casualty and, pursuant to the
        applicable Component Declaration, the Trust Property will not be repaired, replaced, or reconstructed. In
        any vote of an owners’ association or other governing body taken to determine whether the Trust
        Property will be repaired, replaced, or reconstructed pursuant to the applicable Component Declaration,
        Trustee must vote to repair, replace, or reconstruct the Trust Property unless otherwise directed by the
        Board;

                              (ii)    The Trust Property has been taken by condemnation and, pursuant to
        the applicable Component Declaration, the Trust Property may not be made tenantable;

                                (iii)   The Trust Property has been deemed by a court of competent jurisdiction
        or regulatory or governmental body with jurisdiction over such Trust Property to not be capable of being
        used for the purposes outlined in the Trust Plan Documents; or

                                 (iv)   The Component or other real property regime of which the Trust
        Property is a part, or the Component Declaration to which the Trust Property has been subjected, has
        been terminated in accordance with the terms and conditions of the applicable Component Declaration or
        other governing document. In any vote of a Component Association or other governing body taken to
        determine whether the Component or other real property regime of which the Trust Property is a part, or
        the Component Declaration to which the Trust Property has been subjected will be terminated, Trustee
        must vote not to terminate the Component or relevant Component Declaration or other governing
        document, as applicable, unless otherwise directed by the Board.

                         (b)     Trust Property Not Subject to a Component Declaration. With respect to Trust
        Property that has not been subjected to a Component Declaration or, to the extent that the Trust Property
        has not been subjected to another condominium declaration or a similar governing document(s) that
        contemplates the damage of the Trust Property by casualty or the condemnation of the Trust Property, as
        applicable, such Trust Property may be withdrawn from the Trust by Trustee at the direction of the
        Beneficiaries, which direction must be approved by a vote of two-thirds (2/3) of those Beneficiaries that
        are present in person or by proxy at a duly called meeting of the Association, if:

                                 (i)     The Trust Property has been damaged by casualty and, pursuant to the
        procedure set forth in the Bylaws, the Beneficiaries determine that the Trust Property should not be
        repaired, replaced, or reconstructed;

                                  (ii)     The Trust Property has been totally taken by condemnation;

                                (iii)   The Trust Property has been deemed by a court of competent jurisdiction
        or regulatory or governmental body with jurisdiction over such Trust Property to not be capable of being
        used for the purposes outlined in the Trust Plan Documents; or




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                                (iv)     The Trust Property has been partially taken by condemnation and
        pursuant to the process set forth in the Bylaws, the Beneficiaries determine that the Trust Property may
        not be made tenantable.

                        (c)      Permitted Withdrawals. In addition to the withdrawals of Trust Property
        pursuant to Section 5.4(a) and (b) above, the Trustee may withdraw Trust Property, or an interest therein,
        from the Trust pursuant to the order of any court of competent jurisdiction or as may be required by any
        governmental authority having jurisdiction over the Trust Property or Trust Plan.

                          (d)    Replacement of Withdrawn Trust Property. Pursuant to the Bylaws, in the event
        Trust Property is withdrawn from the Trust pursuant to Sections 5.4(a) or (b) above, the Board, subject to
        the provisions of Article XIII of the Bylaws, may direct Trustee to apply the proceeds of any insurance
        claim or condemnation award, and the Board may impose a special assessment on the Beneficiaries to the
        extent such funds are insufficient, to replace the Trust Property such that the use rights available in
        connection with the Trust Property after replacement will equal or exceed the use rights among all
        Beneficiaries in the Trust Plan.

                         (e)       Reduction of Interests or Use Rights. In the event that a portion, but not all, of
        the Trust Property has been withdrawn from the Trust and the Trust Property has not been replaced
        pursuant to Section 5.4(d) above and no substitution property has been conveyed to the Trust pursuant to
        Section 5.3(b) of this Trust Agreement, Trustee, at the direction of the Board, shall reduce the number of
        Interests in the Trust or the use rights attributable to each Interest in the Trust. The reduction in the
        number of Interests or the use rights attributable to the Interests shall be in an amount sufficient to ensure
        that the use rights available in connection with the remaining Trust Property will equal or exceed the use
        rights remaining among all Beneficiaries after such reduction. The Board, in its reasonable discretion,
        may determine to reduce the number of Interests or the use rights available with respect to the remaining
        Trust Property as set forth in paragraphs (i) or (ii) below. The requirement of Beneficiaries to own at least
        a Base Interest, as set forth in the Trust Plan Documents shall not be applicable to any Beneficiary whose
        number of Interests or use rights are reduced pursuant to this Section 5.4(e).

                                  (i)     In the event Trust Property is withdrawn pursuant to this Section 5.4
        such that the use rights remaining among all Beneficiaries after such deletion exceeds the use rights
        available in connection with the remaining Trust Property, the Board may act to reduce the number of
        Interests in the Trust in accordance with this paragraph. Each Beneficiary whose Interest is terminated
        will receive a share of any proceeds received in connection with any casualty or eminent domain action,
        in an amount equal to the proportion of the Common Expenses paid by the Beneficiary (as described in
        Exhibit “A” to the Bylaws) in connection with the Beneficiary’s Interest relative to the Common Expenses
        paid by other Beneficiaries whose Interests are terminated. Those Beneficiaries whose Interests are
        removed from the Trust and own no other Interests will not be entitled to reserve or use any Trust
        Property after such removal. In order to determine which Interests will be removed from the Trust, the
        Board will notify all Beneficiaries of the opportunity to have such Beneficiaries’ Interests removed from
        the Trust not less than thirty (30) days prior to such removal. The determination of which Interests will
        be removed from the Trust will be determined on a first-come, first-served basis. If there is an
        insufficient number of Beneficiaries desiring to have such Beneficiaries’ Interests terminated, the Board,
        in its sole determination, will establish a random selection system to terminate the necessary number of
        Interests from the Trust.

                                  (ii)    In the event Trust Property is withdrawn pursuant to this Section 5.4
        such that the use rights remaining among all Beneficiaries after such deletion exceeds the use rights
        available in connection with the remaining Trust Property, the Board may reduce the use rights
        attributable to all or some of the Interests in the Trust. Each Beneficiary whose use rights are affected by
        such reduction will pay reduced Common Expenses in accordance with this paragraph and will receive a


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        share of any proceeds received in connection with any casualty or eminent domain action, in an amount
        to be determined as provided in this paragraph. The Common Expenses paid by each Beneficiary whose
        use rights are reduced shall be reduced by the same proportion as the reduction in the Beneficiary’s use
        rights. For example, a Beneficiary whose use rights are reduced by twenty-five percent (25%) will pay
        seventy-five percent (75%) of the Common Expenses that the Beneficiary would have paid had the
        Beneficiary’s use rights not been reduced. The proportion of any proceeds of a casualty or eminent
        domain action received by a Beneficiary relative to the total amount of the proceeds received by all
        Beneficiaries in connection with the casualty or eminent domain action shall be equal to the proportion of
        the reduction in Common Expenses paid by the Beneficiary relative to the total reduction in Common
        Expenses paid by all Beneficiaries whose use rights are reduced. For example, if a Beneficiary has a $100
        reduction in the amount of Common Expenses payable by the Beneficiary and all Beneficiaries whose use
        rights are reduced have a total reduction of Common Expenses equal to $10,000, the Beneficiary will be
        awarded one one-hundredth (.01) of the proceeds of the casualty or eminent domain action. The Board
        shall not be required to reduce the use rights attributable to all Interests in equal proportions. In order to
        determine which Interests will have such Interests’ use rights reduced, the Board will notify all
        Beneficiaries of the opportunity to have the use rights attributable to a Beneficiary’s Interest reduced not
        less than thirty (30) days prior to such reduction. The determination of which Interests shall have such
        Interests’ use rights reduced will be determined on a first-come, first-served basis. If there is an
        insufficient number of Beneficiaries desiring to have their use rights reduced, the Board, in its sole
        determination, will establish a random selection system to reduce the use rights of the Interests in the
        Trust. The Board may modify or create additional classes of Interests in accordance with the Bylaws to
        contemplate the reduced use rights attributable to some or all Interests as the Board may desire.

                         (f)    Restricted Use Property. The provisions of this Section 5.4 shall not be applicable
        to any Restricted Use Property.

                 Section 5.5      Removal of Trust Property Prior to Delivery of Notice of Use Rights. In
        accordance with Section 3.3 above, Trustee shall, within five business (5) days following receipt of written
        notice from Developer, convey to Developer or its designee any Restricted Use Property for which a
        Notice of Use Rights had not been previously delivered by Developer to Trustee. Trustee and
        Beneficiaries acknowledge and agree that the removal of such Restricted Use Property shall not be
        deemed to be a breach of Trustee’ fiduciary duty to the Beneficiaries or to affect the rights or obligations
        of any Beneficiaries as set forth in this Trust Agreement with respect to Trust Property for which a Notice
        of Use Rights had been previously delivered by Developer to Trustee. Trustee acknowledges and agrees
        that the only compensation that will be paid for actions taken by the Trustee pursuant to this Section 5.5
        shall be the administrative and processing costs incurred by Trustee upon the conveyance of the
        Restricted Use Property to Developer.

                Section 5.6      Occupancy Assignments. From time to time, Developer may own condominium
        units or other Accommodations that have not been committed to the Trust Plan (“Other
        Accommodations”). In order to provide Beneficiaries with the greatest possible flexibility in making
        reservations, upon check-in, Beneficiaries may be assigned to occupy Other Accommodations as long as
        the Other Accommodations are located within the same Component as the Accommodations originally
        reserved; provided, however, the total number of Accommodations available to be reserved by
        Beneficiaries for any given day shall not exceed the total number of Accommodations committed to the
        Trust Plan and for which a Notice of Use Rights has been delivered. Developer may also permit the
        renters or other occupants of the Other Accommodations to be assigned to occupy the Trust Property;
        provided, however, the total number of Accommodations available to be reserved by such renters or
        other occupants shall not exceed the total number of Other Accommodations. Except as otherwise
        permitted by Article XIII of the Bylaws, a one-to-one use right to use night requirement ratio shall be
        maintained with respect to the Trust Property.



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                          ARTICLE VI. ARTICLE VI. TERM; TERMINATION OF THE TRUST

               Section 6.1     Term. The term of the Trust shall be perpetual unless sooner terminated in
        accordance with the provisions of this Trust Agreement.

                 Section 6.2     Termination of the Trust by Developer. At such time as there are no
        Beneficiaries (other than Developer) that have a right to occupy any portion of the Trust Property
        pursuant to the Trust Plan Documents, Developer may, but is not obligated to, in Developer’s sole
        discretion, revoke the Trust and terminate the Trust Plan.

                 Section 6.3       Termination of the Trust by Beneficiaries. The Trust and this Trust Agreement
        shall automatically terminate at such time as the Board directs Trustee to sell or otherwise transfer legal
        and equitable title to all of the Trust Property and any and all interest therein to a third party as set forth
        below, and all of the funds and other proceeds resulting from such transfer have been distributed to the
        Beneficiaries in proportion to the allocation of Common Expenses as set forth in Exhibit “A” to the
        Bylaws. The Board is required to direct the Trustee to terminate the Trust and this Trust Agreement if: (i)
        during such time that the Developer has the right to appoint a majority of the Board, a majority of the
        Board and at least forty percent (40%) of the total voting interests of the Association, vote to terminate the
        Trust and this Trust Agreement; or (ii) at any time, at least ninety-five percent (95%) of the total voting
        interests of the Association vote to terminate the Trust and this Trust Agreement.

                         ARTICLE VII. POWERS, DUTIES AND OBLIGATIONS OF TRUSTEE

               Section 7.1       Fiduciary Duty. Trustee shall act as a fiduciary to the Beneficiaries. Trustee shall
        have no rights, authority, or obligations, other than as specifically set forth in this Trust Agreement or
        pursuant to applicable law.

                 Section 7.2     Duties of Trustee. In addition to the other duties and obligations specifically set
        forth in this Trust Agreement, the duties of Trustee with respect to the Trust, the Beneficiaries, and the
        Trust Property are as follows:

                        (a)      Holding Title. To hold legal and equitable title to the Trust Property in
        accordance with this Trust Agreement. In the event that any property is submitted to the Trust, such
        property shall be subject in all respects to the provisions of this Trust Agreement. Trustee shall have no
        legal or equitable rights with respect to any Trust Property except as expressly set forth in this Trust
        Agreement nor shall Trustee have any right to any income or profit derived from the sale, transfer, or
        other conveyance of any Trust Property. Trustee may not accept, without the express prior written
        consent of Developer, any property to become Trust Property from any person or entity other than
        Developer.

                         (b)     Conveyance of Trust Property. Upon termination of the Trust or upon the
        direction of the Board pursuant to the Bylaws, to convey, mortgage, hypothecate, assign, lease, or
        otherwise transfer or encumber the Trust Property. Trustee shall execute any and all documents and
        instruments which shall be necessary to fully carry out such direction to convey the Trust Property.
        Trustee expressly acknowledges that, other than as set forth in the Bylaws, Article V of this Trust
        Agreement and this Section 7.2(b), Trustee shall have no authority, express or implied, to convey,
        hypothecate, mortgage, assign, lease, or otherwise transfer or encumber in any fashion any interest in or
        portion of the Trust Property.

                        (c)    Notification of Division. To notify the Division in writing no later than ten (10)
        days after receiving notice of the filing of a petition for a court order to approve of a conveyance,
        hypothecation, mortgage, assignment, lease, or other transfer or encumbrance of the Trust Property.


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                        (d)      Voting. To vote on behalf of the Trust as the owner of legal and equitable title
        the Trust Property at any meeting or other proceeding of any owners’ association or similar organization
        (excluding the Association) governing the Trust Property as directed by the President of the Association
        pursuant to a vote of the Board.

                         (e)     Maintenance of Books and Records. To maintain the Registry, which shall
        include at a minimum, the names, addresses, and telephone numbers of all Beneficiaries and to maintain
        all other books and records of the Trust as may be required by the Association, from time to time.
        Notwithstanding anything in this Trust Agreement to the contrary, neither Trustee nor Trust Manager
        shall disclose the name, address, telephone number, or electronic mail address of any Beneficiary to any
        other Beneficiary or authorized agent thereof without the prior written approval of the Beneficiary whose
        name, address, telephone number, or electronic mail address is requested.

                        (f)      Forward Records. Upon request by the Division, the Trustee shall be required to
        promptly furnish a copy of the Registry maintained by Trustee and a copy of any other books and records
        of the Trust Plan required to be maintained pursuant to Section 721.13, Florida Statutes that are in the
        possession, custody, or control of the Trustee.

                        (g)    Execution of Documents. Trustee shall execute any and all documents required
        by any private, governmental, or quasi-governmental agency, or as otherwise reasonably requested by
        Developer for the purpose of permitting Developer to develop, construct improvements on, and furnish
        and equip the Trust Property, including any power of attorney, assignment of rights, permits,
        applications, easements, or other similar documents in accordance with Section 3.3(b) of this Trust
        Agreement.

                        (h)     Payment of Taxes. Trustee shall receive and hold copies of proof that
        Association has paid or caused to be paid all applicable taxes with respect to the Trust Property.

                       (i)     Payment of Insurance. Trustee shall receive and hold copies of proof that
        Association has paid or caused to be paid all applicable insurance premiums with respect to the Trust
        Property.

                Section 7.3     Delegation of Authority and Obligations. Subject to the prior written approval of
        the Board and any Trust Manager, Trustee may delegate to a third party any of Trustee’s authority and
        obligations under this Trust Agreement that a prudent trustee of comparable skill could properly
        delegate under the circumstances existing at the time of such delegation. In delegating Trustee’s
        authority and obligations pursuant to this Section 7.3, Trustee must exercise reasonable care, skill, and
        caution in:

                        (a)      Selecting a third party to whom Trustee will delegate all or a portion of Trustee’s
        duties and obligations; and

                        (b)     Establishing the scope and terms of the delegation, consistent with the purpose
        and terms of the Trust and this Trust Agreement.

                        (c)    Periodically reviewing the third party’s actions in order to monitor the third
        party’s performance and compliance with the terms of the delegation and this Trust Agreement.

                No Beneficiary is an agent of the Trustee for any purpose whatsoever nor does any Beneficiary
        have any authority whatsoever to contract or to execute leases or to do any other act in the name of the
        Trustee or to obligate the Trustee personally or as Trustee.



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                 Section 7.4     Trustee Acts Only on Written Authorization. Except as otherwise set forth in this
        Trust Agreement, it is agreed by the Parties that Trustee will deal with the Trust Property only when
        authorized and directed to do so in writing by the Board or Developer, as applicable pursuant to this
        Trust Agreement. On the written direction of the Board, Trustee shall execute deeds, mortgages or trust
        deeds, or leases with respect to the Trust Property, or otherwise deal with the title to the Trust Property.
        Trustee shall not be required to inquire into the propriety or genuineness or authenticity of any written
        direction by the Board and/or Developer or the authority of the person signing said direction and may
        rely on such written direction therefrom for any action taken or omitted to be taken by it in good faith in
        reliance thereon.

                 Section 7.5      Trustee Expenses. Trustee expenses shall be reimbursed as follows:

                         (a)     Except for Required Payments (as hereinafter defined) Trustee, with the prior
        approval of the Board (which approval shall not be unreasonably withheld), shall have the right, but not
        the obligation, to make any advances or incur or pay any expenses on account of this Trust Agreement or
        the Trust Property (“Optional Payments”). If Trustee shall make any Optional Payments, or shall incur
        any expenses by reason of being a party to any litigation in connection with this Trust Agreement or the
        Trust Property (except as a result of Trustee’s willful misconduct or gross negligence), the Association, on
        demand by Trustee, shall reimburse Trustee for such expenses, advances or payments made by Trustee,
        including attorneys’ fees and expenses and court costs (at all levels), incurred by Trustee in such matters;
        provided, however, in no event shall Trustee incur such expenses in an amount to exceed Twenty-Five
        Thousand Dollars ($25,000.00) in the aggregate without the prior written consent of the Board (which
        consent shall not be unreasonably withheld). Trustee shall have the right, but not the obligation, to
        employ and consult with attorneys regarding this Trust Agreement and the Trust Property, and any and
        all such costs and expenses incurred by Trustee by virtue of said employment and consultation shall be
        deemed to be Optional Payments under this Section 7.5 to be paid by the Association on demand. Except
        for Required Payments, any other monies expended by Trustee under any other provision of this Trust
        Agreement shall also be deemed to be an Optional Payment made by Trustee under this Section 7.5.

                          (b)    With respect to expenses that are reasonably required to be paid by Trustee to
        comply with the provisions of Sections 736.0809 and 736.0811, Florida Statutes, or that Trustee shall be
        compelled by a court of law, regulatory agency, or other governmental authority having appropriate
        jurisdiction to pay on account of this Trust Agreement or the Trust Property, whether for breach of
        contract, injury to person or property, taxes of any kind, fines or penalties under any law, or otherwise, in
        any manner under this Trust Agreement (“Required Payments”), the Association, on demand by Trustee
        and in Trustee’s sole discretion, shall either pay directly to the party due such payments or reimburse
        Trustee for such Required Payments; provided, however, Trustee must provide the Association with
        written notice of any such Required Payments not less than five (5) business days prior to payment
        thereof. Notwithstanding anything in this Trust Agreement to the contrary, Required Payments shall not
        include any amounts that are required to be paid by Trustee due to Trustee’s willful misconduct or gross
        negligence. In the event Developer, Trust Manager, or the Association receives notice of any Required
        Payment from any party other than Trustee, Developer, Trust Manager, or the Association, as applicable,
        such party shall notify Trustee of such Required Payment within three (3) business days of receipt of
        notice thereof.

                       (c)      Trustee shall have a lien against a Beneficiary’s Interest for the proportionate
        amount of any of Trustee’s expenses payable by the Beneficiary, whether directly or by way of
        Assessment due to the Association; provided, however, that such lien shall not become effective until
        such time as the Association has assessed such Beneficiary for such amounts, and the Beneficiary
        becomes delinquent on the payment of such amount pursuant to the Bylaws. Trustee’s lien for unpaid
        Trustee expenses shall be subject to the same terms, conditions, and limitations, including, but not limited



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        to, notice and recording requirements, as imposed on the Association’s assessment liens in accordance
        with the Bylaws.

                 Section 7.6     Resignation or Death of Trustee. Trustee shall not resign upon less than ninety
        (90) days’ prior written notice to Developer and to any regulator having jurisdiction over such process.
        No such resignation shall become effective until a successor Trustee is appointed by Developer and
        approved by all regulators having jurisdiction over such process. In the event a successor Trustee is not
        appointed by Developer and approved by all regulators having jurisdiction over such process, Trustee
        may petition the Circuit Court in and for Orange County, Florida to appoint a successor Trustee. Upon
        the appointment of a successor Trustee and upon payment to Trustee of all costs and fees incurred,
        including all reasonable attorneys’ fees and expenses and court costs (at all levels), including reasonable
        attorneys’ fees and costs in any hearing to determine the reasonableness of such fee, due to the court
        filing for said appointment of the successor Trustee, the substitution of Trustee shall thereupon be
        complete.

                Section 7.7    Removal of Trustee. Trustee may be removed as trustee of the Trust by the
        Board, and Developer, for so long as Developer is selling Interests in the ordinary course of business,
        with or without cause, at any time; provided, however, such removal shall be effective only upon the
        appointment of a successor Trustee by Developer and the Board. In the event that Developer and the
        Board cannot agree on a successor Trustee, Developer and the Board shall apply to the Circuit Court in
        and for Orange County, Florida for the appointment of a successor Trustee. Subject to the requirement
        that a successor Trustee be appointed as set forth in this Section 7.7 and Section 7.8, Trustee shall
        automatically be removed upon any of the following occurrences:

                        (a)     the application for the appointment of a receiver for Trustee or the filing of a
        petition under any provisions of the United States Bankruptcy Code or other state or federal insolvency
        proceeding by or against Trustee or any assignment for the benefit of creditors by or against Trustee;

                        (b)      if Trustee is an individual, Trustee’s death, physical disability, or mental
        incompetence, and if Trustee is not an individual, the dissolution, termination of existence, merger, or
        change in control of or in Trustee;

                         (c)      any acts of gross negligence, willful misconduct, or fraud by Trustee;

                        (d)     the violation of any federal, state, or local law or regulation by Trustee, which
        Developer or the Board reasonably determines adversely affects the Trust, the Trust Property, the
        Beneficiaries, Developer, or the Association, or Trustee’s ability to perform its obligations under this
        Trust Agreement;

                         (e)      any criminal indictment of Trustee;

                        (f)       any material breach of this Trust Agreement or Trustee’s fiduciary duty under
        this Trust Agreement;

                         (g)      the commencement of any investigation of the acts and practices of Trustee by
        any governmental agency, which Developer and the Board reasonably determine adversely affects the
        Trust, the Trust Property, the Beneficiaries, Developer, or the Association, or Trustee’s ability to perform
        its obligations under this Trust Agreement.

                Section 7.8     Successor Trustee. In the event that a successor Trustee is appointed under
        Sections 7.6 or 7.7, Developer or Board, as the case may be shall, by written instrument, substitute a
        successor or successors to any Trustee named in this Trust Agreement or acting under this Trust


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        Agreement. Such instrument or memorandum thereof, executed, acknowledged and recorded in Orange
        County, Florida, shall be conclusive proof of proper substitution of such successor Trustee or Trustees,
        who shall (without conveyance from the preceding Trustee) succeed to all of the title, estate, rights,
        powers and duties of such preceding Trustee. Such instrument or memorandum thereof must contain the
        name of the Developer and original Trustee, the book and page where the original Memorandum of Trust
        Agreement is recorded and the name and address of the new Trustee.

                  Section 7.9    Insurance by Trustee. Trustee shall obtain errors and omissions or professional
        liability insurance coverage in an amount not less than Five Million Dollars ($5,000,000) or such other
        amount as may be required by Developer or the Trust Manager, and as may otherwise be required by
        law. The Trustee shall be included as an additional insured under the Association’s commercial general
        liability insurance against claims for bodily injury, death, and property damage occurring in conjunction
        with the operation of the Trust Plan.

                 Section 7.10   Protection of Third Parties Dealing with Trustee. No party dealing with Trustee
        in relation to the Trust Property in any manner whatsoever, including no party to whom the Trust
        Property or any portion of or interest in the Trust Property shall be conveyed, contracted or sold, leased,
        or mortgaged by Trustee, shall be: (a) obliged to see to the application of any purchase money, rent, or
        money borrowed or otherwise advanced on the Trust Property; (b) obliged to see that the terms of this
        Trust Agreement have been complied with; (c) obliged to inquire into the authority, necessity, or
        expediency of any act of Trustee; or (d) privileged to inquire into any of the terms of this Trust
        Agreement.

                        Every deed, mortgage, lease, or other instrument executed by Trustee in relation to the
        Trust Property shall be conclusive evidence in favor of every person claiming any right, title, or interest
        under the Trust that: (a) at the time of its delivery, the Trust was in full force and effect; (b) the instrument
        was executed in accordance with the terms and conditions of this Trust Agreement and all its
        amendments, if any, and is binding upon all Beneficiaries under it; (c) Trustee was duly authorized and
        empowered to execute and deliver each such instrument; and (d) if a conveyance has been made to a
        successor or successors in trust, that the successor or successors have been appointed properly and are
        vested fully with all the title, estate, rights, powers, duties, and obligations of the successor’s or
        successors’ predecessor in trust.

                Section 7.11     Disclosure of Interests. If required by applicable law, Trustee shall be required to
        furnish promptly to any state or federal regulatory agency having jurisdiction, upon prior written
        request, a copy of the Registry and a copy of any other books and records of the Trust Plan that are in the
        possession of Trustee. In the event of service of process on Trustee at any time, Trustee shall not, except
        as may be required by law, disclose to the other parties to the proceeding the names and addresses of the
        Beneficiaries. Trustee shall not otherwise disclose the identity of any Beneficiary, except insofar as such
        disclosure may be required by law or on order of a court of competent jurisdiction.

                 Section 7.12    Legal Proceedings. Trustee shall be under no duty to take any action, to pay any
        money or to incur any expenses in connection with any legal proceeding involving this Trust Agreement
        or the Trust Property. If Trustee is served with process or notice of legal proceedings or of any other
        matters concerning this Trust Agreement or the Trust Property, the sole duty of Trustee shall be to
        forward such process or notice to the Board as provided in Section 13.2 of this Trust Agreement. In such
        case, the Association, as determined by the Board, may defend such action in the name of Trustee with
        counsel reasonably acceptable to Trustee.

                 Section 7.13     Permissive Acts.       Trustee may, when necessary in Trustee’s reasonable
        discretion, and subject to Section 7.5 of this Trust Agreement, do any of the following:



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                         (a)      Actions. Trustee may commence or defend any actions at law or in equity
        relating to the Trust Property. If a court action should be instituted in connection with the Trust Property
        or any part of or interest therein and Trustee is named and served as a party, Trustee shall be reimbursed
        by the Association for all fees and expenses incurred in connection with such action except to the extent
        that such action is the result of Trustee’s willful misconduct or gross negligence.

                         (b)      Employment of Others. Trustee may employ counsel, managers, accountants
        and such other persons that, in Trustee’s reasonable judgment, are deemed necessary or desirable to
        perform Trustee’s duties as Trustee. Trustee shall not be liable to any Beneficiary, Developer, or the
        Association, and shall be indemnified, defended, held harmless and reimbursed by the Association for (i)
        the default, defalcation or wrongdoing of any such person if Trustee exercised due care in the selection of
        such person; or (ii) any action taken or suffered by Trustee in good faith in reliance upon the instructions
        or advice of any person so selected. The foregoing indemnification provision shall survive the
        termination of this Trust Agreement.

                         (c)      Compliance with Laws. Trustee may do any and all things as may be necessary
        to comply with all applicable laws, ordinances and regulations promulgated by any governmental
        authority having jurisdiction over the Trust, the Trust Plan, the Association, or the Trust Property or any
        portion of or interest therein.

                        (d)     Execution of Documents. Trustee may join with Developer or other necessary
        parties upon request in executing any necessary amendment or supplement to this Trust Agreement or
        any underlying Component documents, plats, or similar documents. Trustee shall not be required to
        execute any instruments containing personal covenants of warranty.

                        (e)      Delegation of Use Rights. In accordance with the terms of this Trust Agreement,
        Trustee delegates to the Association the right to assign Trustee’s right to use all or a portion of the
        Accommodations or facilities at each Component, which right is granted by virtue of Trustee’s ownership
        of Trust Property at the Component.

                                           ARTICLE VIII. TRUSTEE LIABILITY

                 The personal liability of Trustee shall be governed by Sections 736.08125, 736.08163, 736.1013, and
        736.1015, Florida Statutes, and Chapter 721. Except as otherwise required by Sections 736.08125,
        736.08163, 736.1013, and 736.1015, Florida Statutes, Trustee shall not be required, in dealing with the Trust
        Property or in otherwise acting under this Trust Agreement: (a) to enter into any individual contract or
        other individual obligations whatsoever; or (b) to become personally liable to pay or incur the payment of
        any damages, attorneys’ fees, fines, penalties, forfeitures, costs, charges or other sums of money
        whatsoever. Except as otherwise required by Sections 736.08125, 736.08163, 736.1013, and 736.1015,
        Florida Statutes, Trustee shall have no individual liability or obligation whatsoever arising from Trustee’s
        ownership of or holding legal and equitable title to the Trust Property (including the payment of any
        Assessments or other amounts assessed by a Component Association), or with respect to any act done,
        contract entered into or indebtedness incurred by Trustee in dealing with the Trust Property or in
        otherwise acting under this Trust Agreement upon the direction of the Board, Developer, or the
        Beneficiaries, except only so far as the Trust Property and any trust funds in the actual possession of
        Trustee shall be applicable to the payment and discharge of such liability or obligation.

                  To the extent permitted by applicable law, the Trustee, Trustee’s parents, subsidiaries and
        affiliates, and the officers, directors, managers, equity holders, employees, agents, and representatives,
        and all of those claiming by, through or under any of the foregoing, and all of their successors and
        assigns (collectively, the “Trustee Indemnified Parties”) shall be indemnified, defended, held harmless
        and reimbursed by the Association against all claims, demands, liabilities, obligations, loss, cost, and


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        expense, including attorneys' fees and expenses and court costs (at all levels), reasonably incurred by or
        imposed upon the Trustee Indemnified Parties in connection with any action, suit or proceeding to which
        the Trustee Indemnified Parties may be made a party or in which the Trustee Indemnified Parties may
        become involved regarding any act or omission of the Association or the reconstruction, repair, or
        replacement of the Trust Property as set forth in the Bylaws or by reason of the Trustee acting as Trustee
        of the Trust, except as to matters wherein the Trustee shall be finally adjudged in such action, suit or
        proceeding, to be liable for or guilty of gross negligence or willful misconduct in the performance of the
        Trustee’s duties; provided, that in the event of a settlement, the indemnification herein shall apply only
        when the Board has approved such settlement and reimbursement as being in the best interests of the
        Association. The foregoing indemnification provision shall survive the termination of this Trust
        Agreement.

                                                ARTICLE IX. THE ASSOCIATION

                 Section 9.1       Management and Operation of the Trust Property, Association Property, and the
        Trust Plan. Except as otherwise set forth in this Trust Agreement, all powers, obligations, and duties
        pertaining to the management and operation of the Trust Property, Association Property, and the Trust
        Plan are hereby vested exclusively in the Association. Except as otherwise set forth in this Trust
        Agreement, all powers of direction of the Trustee as described in Section 689.071(8), Florida Statutes, shall
        be vested in the Association and shall be exercised in accordance with this Trust Agreement, the Articles
        and the Bylaws, as amended from time to time. The powers of the Association shall include those powers
        set forth in the Articles and the Bylaws, as amended from time to time, and those powers which a not for
        profit corporation in the state of Florida may exercise. The Association may delegate by contract all or a
        portion of these powers, obligations and duties to the Trust Manager and an Exchange Company, which
        duties may be further delegated to sub-managers or sub-contractors. Trust Manager shall be paid a
        management fee as set forth in any contract entered into between the Association and the Trust Manager.
        The Beneficiaries shall be charged by the Association not less than annually, Annual Dues to satisfy the
        expenses incurred by the Association in managing and operating the Trust Property, Association
        Property, and the Trust Plan, which expenses include any assessments or fees paid by the Association to
        any Component Associations. The procedures for the payment and collection of Assessments by and
        from each Beneficiary, together with the remedies available to the Association against a Beneficiary who
        is delinquent in the payment of any Assessment, are set forth in Section 9.8 of this Trust Agreement and
        the Bylaws.

                 Section 9.2     Membership in the Association. Membership of each Beneficiary in the
        Association is appurtenant to the Beneficiary’s Interest. Each Interest will have appurtenant to it votes in
        the Association in accordance with the Bylaws. The vote established for each Interest set forth in the
        Bylaws is an appurtenance to that Interest, and no change or amendment may be made to the number of
        votes attributable to each Interest as set forth in the Bylaws without the unanimous approval of all of the
        Beneficiaries. Where an Interest is owned by more than one Beneficiary, the multiple Beneficiaries
        owning such Interest must file a voting certificate with the Association, in accordance with the Bylaws,
        setting forth which Beneficiary is designated to cast the vote for that Interest.

                 Section 9.3    Limitation on Liability of Trust Association. Notwithstanding the duty of the
        Association to manage and operate the Trust Plan, the Association is not liable to Beneficiaries, guests, or
        invitees, for injury or damage caused by any patent or latent condition of the Trust Property or
        Association Property, any defects in design or workmanship or alterations or improvements made to the
        Trust Property or Association Property, or caused by the elements, the Association, the Association’s
        maintenance or lack thereof, or other Beneficiaries or persons.




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               Section 9.4      Restraint on Assignment of Shares and Assets. Each Beneficiary’s share in the
        funds and assets of the Association cannot and may not be assigned, hypothecated, or transferred in any
        manner except as an appurtenance to the Beneficiary’s Interest.

                Section 9.5      Acts of the Association. Unless the approval or action of a certain specific
        percentage of Beneficiaries or of the Board is specifically required in this Trust Agreement, the Articles, or
        Bylaws, applicable Rules and Regulations or applicable law, all approvals or actions required or
        permitted to be given or taken by the Association will be given or taken by a majority of the Board
        present and voting at a duly called and constituted meeting at which a quorum is present, without the
        consent of the Beneficiaries. The Board may also approve and act through the proper officers of the
        Association without a specific resolution. When an approval or action of the Beneficiaries is permitted or
        required to be given or taken under the Trust Plan Documents or applicable law, unless specifically
        provided otherwise, all such approvals or actions required or permitted to be given or taken will be given
        or taken by a majority of the votes present and voting at a duly called and constituted meeting of the
        Association at which a quorum is present, including any votes attributable to Interests owned by
        Developer unless prohibited or restricted by law or by the Trust Plan Documents.

                Section 9.6      Effect on Developer. Notwithstanding anything in the Trust Plan Documents to
        the contrary, so long as Developer holds any Interest, none of the following actions may be taken by the
        Association without the prior approval of Developer:

                         (a)      Assessment. Assessment of Developer as a Beneficiary for capital improvements.

                          (b)      Detrimental Actions. Any action that would be detrimental to the sales of
        Interests by Developer as determined by Developer in its sole discretion; provided, however, that an
        increase in Annual Dues without discrimination against Developer will not be deemed to be detrimental
        to the sales of Interests.

                      (c)      Other Acts. Any other action by the Association for which the Trust Plan
        Documents require the prior written approval of Developer.

                 Section 9.7     Initial Reservation Procedures. The Reservation Procedures governing the
        reservation and use of the Trust Property by Beneficiaries shall be created by the Board and Developer
        and may be unilaterally amended from time to time by the Association Delegee without the consent of
        any of the Beneficiaries to further the use and enjoyment of the Trust Plan and the Trust Property by
        Beneficiaries as a whole or if required to do so by any regulator having jurisdiction over the Trust Plan or
        the Trust Property. In establishing and amending the Reservation Procedures or the applicable Point
        Schedules, the Association Delegee will take into account the location and anticipated relative use
        demand of each Component and each Accommodation. The Association Delegee will use its best efforts,
        in good faith and based upon all reasonably available evidence under the circumstances, to further the
        best interests of the Beneficiaries as a whole with respect to the Beneficiaries’ opportunity to use and
        enjoy the Accommodations and facilities comprising the Trust Property. The Reservation Procedures or
        the applicable Point Schedules may also be amended from time to time by the Association Delegee in
        order to respond to actual Beneficiary use patterns and changes in Beneficiary use demand for the
        Accommodations and facilities comprising the Trust Property, including the reallocation of Points for Use
        as to particular Use Periods.

                 Section 9.8      Assessments.

                        (a)     Assessments. The mailing and collection of Assessments (or “maintenance fees”
        as such term is often utilized instead of the term “Assessments” in the context of the Accommodations
        and Component Ownership Interests constituting the Trust Property) against each Beneficiary for


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        Common Expenses and the costs or expenses for which an individual Beneficiary may be solely
        responsible pursuant to the terms of the Trust Plan Documents and against Developer for Restricted Use
        Property Expenses shall be pursuant to the Bylaws (and the estimated operating budget(s) adopted
        thereto). All delinquent Assessments or other amounts due to the Association shall bear interest and be
        subject to late fees as set forth in the Trust Plan Documents. All Assessment payments received shall be
        applied first to the Assessment payments due, then to interest, then to late fees, then to costs, and then to
        reasonable attorneys’ fees incurred in collection. Further, all Assessment payments received from a
        Beneficiary shall be applied to the Beneficiary’s Interests on a prorated basis. The pro rata amount that
        will be applied to each Interest shall be determined by the Board and the Board reserves the right to
        revise the method of proration from time to time and apply Assessment payments in any manner
        permitted by applicable law. The Association shall have a lien against each Interest for any unpaid
        Assessments on that Interest and for any interest accruing thereon, which lien may be foreclosed on in
        accordance with the Bylaws. The Board may also assess fines for violations of the Trust Plan Documents
        and other applicable laws, rules, and regulations as set forth in the Bylaws.

                        (b)      Remedies. In addition to all other remedies available to the Association resulting
        from a Beneficiary’s delinquency in any payments owed to the Association, the Association shall have the
        right to deny the use of the Trust Property or Association Property, deny the right to make a reservation,
        and the right to cancel a confirmed reservation as more specifically set forth in the Bylaws and
        Reservation Procedures.

                                  ARTICLE X. PROHIBITION AGAINST RECORDING

                 Section 10.1     No Recording. This Trust Agreement shall not be placed on record in any county
        or other jurisdiction in which the Trust Property is situated, or elsewhere, but if it is so recorded, that
        recording shall not be considered as notice of the rights of any person under this Trust Agreement
        derogatory to the title or powers of Trustee as set forth in this Trust Agreement; provided, however, that
        registration of the Trust with governmental entities by Developer for the purpose of approval to offer the
        Trust Plan for sale does not constitute recordation of this Trust Agreement.

               Section 10.2   Memorandum of Trust Agreement. For purposes of providing notice of this
        Trust Agreement, Developer shall record a Memorandum of Trust Agreement in the Public Records of
        Orange County, Florida, which Memorandum of Trust Agreement shall provide, among other things,
        that:

                         (a)      Trustee, as trustee of the Trust, holds all legal and equitable title to the Trust
        Property;

                         (b)      Upon conveyance of property to Trustee by Developer (or at Developer’s
        direction), all Interests in the Trust created by the submission of the property by Developer shall
        immediately and automatically vest in Developer pursuant to this Trust Agreement and the
        Memorandum of Trust Agreement;

                         (c)      Interests in the Trust may subsequently be conveyed by Developer or any
        successor Beneficiary owning such Interest, which ownership shall be evidenced by a deed conveying the
        Interest to such Beneficiary recorded in the Public Records of Orange County, Florida;

                       (d)     Any lien on an Interest in the Trust shall be perfected only upon the recording of
        a mortgage or other legally sufficient notice of such lien in the Public Records of Orange County, Florida;




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                          (e)     Any mortgage or other notice of a lien on an Interest shall constitute a lien only
        upon such Interest and no such instrument or filing shall act as a lien or otherwise encumber Trustee’s
        title to the Trust Property or any other Beneficiary’s Interest(s);

                         (f)     In its discretion, Developer may also substitute the Trustee in accordance with
        Section 7.8 of this Trust Agreement, which upon compliance with the requirements of Section 7.8, all
        Trust Property shall vest in the name of the new Trustee without any further conveyance;

                       (g)      Trustee shall have a lien against each Beneficiary’s Interest for the proportionate
        amount of any of Trustee’s expenses payable by such Beneficiary in accordance with and subject to the
        terms and conditions of this Trust Agreement; and

                        (h)     In its discretion, Developer may also record a Memorandum of Trust Agreement
        in the public records (or similar method of legally registering documents for public notice) of the
        jurisdiction where any particular Trust Property is located.

                 Section 10.3    Locus of Trust. Notwithstanding the provisions of this Trust Agreement
        requiring Developer to record a Memorandum of Trust Agreement and other documents or instruments
        in the Public Records of Orange County, Florida, Developer may, from time to time and without the
        approval of the Trustee, the Association, or any other Beneficiaries, designate a county in Florida other
        than Orange County (“Substitute County”) for purposes of recording a Memorandum of Trust
        Agreement and other documents or instruments as set forth in this Trust Agreement. In the event
        Developer designates a Substitute County pursuant to this Section, all references in this Trust Agreement
        to Orange County, Florida (excluding Section 13.1 of this Trust Agreement) shall be deemed to be revised
        to refer to such Substitute County and Developer shall record a Notice of Transfer of Locus of Trust
        which identifies the Substitute County, in the Public Records of Orange County, Florida. Developer shall
        also record in the Substitute County, a Memorandum of Trust Agreement, a document which identifies
        the Trust Property and lists the official records book and page number of all deeds to Interests that have
        been recorded in Orange County, Florida, and any other such documents and instruments that Developer
        deems necessary, in its sole discretion. In no event shall the designation of a Substitute County pursuant
        to this Section nullify, void, or otherwise affect the validity or effectiveness of any documents or
        instruments recorded in Orange County, Florida, including without limitation, any conveyances of
        property to the Trustee as trustee of the Trust or conveyances of Interests to Beneficiaries, which were
        recorded prior to the recording of the Notice of Transfer of Locus of Trust in Orange County, Florida, and
        a Memorandum of Trust Agreement in the Substitute County.

                                                ARTICLE XI. AMENDMENTS

                 Section 11.1     By Association. Unless a different vote is required by the specific provisions of
        this Trust Agreement, until the first election of a majority of directors by Beneficiaries other than
        Developer, proposal of an amendment and approval thereof shall require the affirmative action of a
        majority of the entire membership of the Board (which may be by written action in lieu of a meeting), and
        no meeting of the Beneficiaries nor any approval thereof is required, unless such meeting or approval is
        required by this Trust Agreement. After the first election of a majority of directors by Beneficiaries other
        than Developer, a resolution approving a proposed amendment may be proposed by either the Board or
        by the Beneficiaries, and after being proposed and approved by one of such bodies, requires the approval
        of the other body. Except as otherwise provided in this Trust Agreement, such approvals must be by not
        less than seventy percent (70%) of the directors and by not less than seventy-five percent (75%) of all of
        the voting interests of the Association. Each such amendment of this Trust Agreement shall be evidenced
        by an instrument in writing, signed and acknowledged by any two (2) officers of the Association, setting
        forth the full text of such amendment, and certifying that such amendment has been approved by the
        applicable vote. No amendment that materially affects the rights and privileges of Developer, as


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        determined by Developer in its sole discretion, shall become effective unless and until approved, in
        writing, by Developer for so long as Developer owns an Interest or any interest in the Trust Property.
        Furthermore, the Beneficiaries shall have no power to enact any amendment to this Trust Agreement that
        materially and adversely affects the rights of any Mortgagee of record, without first obtaining the written
        consent of such affected Mortgagee of record.

                 Section 11.2    By Developer. Developer reserves the right to unilaterally amend this Trust
        Agreement as it may deem appropriate in its sole discretion; as may be required by any lending
        institution, title insurance company, or public body; as may be necessary to conform this Trust
        Agreement to the requirements of law; to add, substitute, or withdraw property to or from the Trust in
        accordance with Article V of this Trust Agreement, as permitted by applicable law; to facilitate the
        operation and management of the Trust Plan; to facilitate the sale of Interests; or as may be necessary, in
        Developer’s sole discretion, to engage the services of Trustee or any successor trustee; provided,
        however, that no amendment of this Trust Agreement permitted to be unilaterally made by Developer
        shall be in contravention of the provisions of Section 721.08(2)(c)4, Florida Statutes, or its successor.

                Section 11.3     Effect on Trustee. Notwithstanding anything in this Trust Agreement to the
        contrary, no amendments to this Trust Agreement which amendments shall adversely affect the rights,
        duties, or obligations of Trustee, as Trustee may determine in Trustee’s reasonable discretion, shall be
        made without Trustee’s prior written consent. Without limiting the foregoing, Association shall provide
        prior notice and a complete executed copy of all amendments to this Trust Agreement or the Articles or
        Bylaws to the Trustee.

                                   ARTICLE XII. RIGHTS RESERVED BY DEVELOPER

                The following rights are expressly reserved by or have been granted to Developer in the deed to
        Trustee and are incorporated therein by this reference:

                Section 12.1     General Rights of Access. Developer shall have rights over, across, and under
        the Trust Property as follows:

                         (a)      Utilities. Rights are reserved over, across, and under the Trust Property as may
        be required for utility services in order to adequately serve the Trust Property, or properties located
        adjacent to the Trust Property. For purposes of this section, utility services include electric power, natural
        gas, water, garbage, and sewage disposal, stormwater drainage, telephone service, cable, data
        transmission, satellite transmission, and all other service and convenience facilities which are or may be
        provided to properties.

                         (b)      Traffic. Rights are reserved for pedestrian traffic over, through, and across
        sidewalks, paths, walks, halls, lobbies, and other portions of the Trust Property as may be from time to
        time intended and designated for such purpose and use, for vehicular and pedestrian traffic over,
        through, and across such portions of the Trust Property as may from time to time be paved and intended
        for such purposes, and for vehicular parking on such portions of the Trust Property as may from time to
        time be paved, intended, and designated for such purposes, and such rights shall be for the use and
        benefit of the Beneficiaries, Developer, the owners of interests in properties located adjacent to the Trust
        Property which are designated by Developer, those claiming by, through, or under the aforesaid, and the
        aforesaid’s guests, licensees, and invitees; provided, however, that nothing in this Trust Agreement shall
        be construed to give or create in any person the right to park any vehicle on any portion of the Trust
        Property except to the extent that space may be specifically designated and assigned for parking
        purposes as designated by the Board. In addition, further rights shall exist for ingress and egress over
        such streets, walks, and other rights of way within the Trust Property, if any, as shall be necessary to
        provide for reasonable access to the public ways.


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                 Section 12.2    Developer Rights. Developer reserves the following exclusive rights (except as
        specifically designated as non-exclusive) and rights to grant easements:

                         (a)      Marketing and Sales. Developer reserves exclusive rights upon, over and across
        the Trust Property for the purpose of customer relations, public relations, and marketing and sales of
        Interests and interests in any property subject to a Component Declaration, vacation ownership interests
        at other resort condominiums or club resorts, or such other vacation ownership or multisite vacation
        ownership or membership plans developed or marketed by Developer or its affiliates from time to time.

                         (b)     Governmental Requirements. Developer reserves the right to grant such
        easements, from time to time, as may be required by any government agency. The easements shall
        specifically include any environmental easements required by any state or federal environmental
        agencies for so long as Developer owns an Interest or any interest in any Trust Property.

                           (c)     Other Developer Rights. Developer reserves to itself specific rights, and the right
        to assign all or part of such rights, over and across the Trust Property as it may deem necessary for its use
        from time to time. Developer does hereby further reserve the right to delete, relocate, realign, reserve,
        grant, and receive any and all easements and rights of way over, under, and on the Trust Property
        deemed necessary or desirable in Developer’s sole discretion, including easements and/or rights of way
        for utilities, retention ponds, sanitary and storm sewers, cable television, cellular telephone towers, any
        other type of antenna towers or dishes or comparable equipment, refuse disposal, driveways, parking
        areas and roadways, provided that such easements and/or rights of way shall not be located on or within
        any existing structure of the Trust Property with the exception of any roof areas on which may be placed
        cellular telephone towers or other types of antenna towers, dishes or comparable equipment, and such
        right shall not be exercised as to unreasonably disturb, impair or interfere with the normal use and
        enjoyment of the Trust Property by the Beneficiaries. Any income generated from Developer’s exercise of
        its right to grant easements over roof areas for cellular telephone towers or other types of antenna tower
        dishes or comparable equipment shall be for the sole benefit of Developer.

                        (d)     Rights for Construction. Developer reserves rights over, under, and across the
        Trust Property as are necessary, from time to time, for the purpose of constructing improvements on the
        Trust Property or properties located adjacent to the Trust Property.

        In the event any of the foregoing Article is left out of the deed to the Trustee, Developer can request
        Trustee, and Trustee agrees to grant, the rights set forth in this Article.

                                                ARTICLE XIII. MISCELLANEOUS

                Section 13.1    Governing Law. This Trust Agreement and the obligations of the Parties shall be
        construed in accordance with the laws of the State of Florida. The proper and exclusive venue for any
        action or proceeding brought by any party shall be in Orange County, Florida.

                Section 13.2     Notices. Any notice or affidavit required or permitted to be given under this
        Trust Agreement or applicable law will be effective only if in writing and if sent by certified or registered
        U.S. Mail, overnight courier, or delivered personally to the intended recipient at the addresses shown or
        to such changed address as may be furnished to or known by the sender of such notice or affidavit. With
        respect to any Beneficiary (other than Developer), the address shown for that Beneficiary on the books
        and records of Developer and Trustee, or either of them, shall be the address to which any binding notice
        under this Trust Agreement may be mailed or otherwise delivered as provided in this Trust Agreement.
        Each written notice sent to Trustee, Developer or the Association shall be addressed as follows:




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        If to Trustee:                                  ___________________________________________




        with a copy to:




        If to Developer:                                Marriott Ownership Resorts, Inc.
                                                        6649 Westwood Blvd.
                                                        Orlando, Florida 32821
                                                        Attn.: Office of General Counsel, Law Department

        with a copy to:                                 Foley & Lardner LLP
                                                        111 North Orange Avenue
                                                        Suite 1800
                                                        Orlando, Florida 32801
                                                        Attn: Bill Guthrie, Esq.

        If to Association:                              MVC Trust Owners Association, Inc.




        with a copy to:




                 Section 13.3    “Marriott” Mark or any Mark having the Name “Marriott” in It. Developer,
        Marriott International, Inc. and their affiliates are the sole and exclusive owners of all rights, title and
        interest of every kind and nature, whether by statute or common law, in law or equity, which exist,
        attach, inhere, or subsist in the Marriott Trademarks and all goodwill associated therewith, where the
        term “Marriott Trademarks” means the name and mark “Marriott,” the “M” logo, the Marriott Vacation
        Club “Sun and Moon” logo, and all other trademarks, service marks, trade names, symbols, logos,
        slogans and designs used or registered by Developer, Marriott International, Inc. or any of their affiliates,
        whether registered or unregistered and whether used alone or in connection with any other words,
        trademarks, service marks, trade names, symbols, logos, slogans and designs. By acceptance of a deed to
        an Interest(s), each owner acknowledges that the Developer and/or its affiliates may be required, without
        advance notice to owners or the Association, to cease use of the Marriott Marks (in which event all indicia
        of connection of membership with the Marriott Marks, including all signs or other materials bearing any
        of the Marriott Marks, may be removed from the Trust Property, as applicable), and in which event
        Developer may affiliate some or all portions of the Trust Property, with a different resort brand or no
        brand at all. By acceptance of a deed to an Interest(s), each purchaser acknowledges and agrees that such
        a change in the status or nature of any portion of the Trust Property’s resort affiliations shall not be
        subject to the approval of any purchaser, owner, or the Association, and shall not be grounds for any
        claim against the Developer. Marriott International, Inc. has important, substantial and legitimate
        interests in ensuring and safeguarding the Marriott Trademarks and any names that use the Marriott
        Trademarks. Accordingly, the owners and the Association shall not use any of the Marriott Trademarks

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        or the foregoing names, or any similar names or logos, for any reasons without the prior written consent
        of Developer or Marriott International, Inc.

                In the event the Association receives written notice from Developer, Marriott International, Inc.,
        or the holder of the license (which notice shall be deemed to be notice to each Beneficiary) that it shall no
        longer be permitted to use the Marriott Marks to identify the Trust Plan or Trust Property, the
        Association and each Beneficiary shall immediately take steps to cease all use of the mark(s) identified in
        the notice to identify the Trust Plan or Trust Property, and shall:

                        (a)     immediately remove all signs containing the Marriott Marks from the Trust Plan
        or Trust Property, and from any off-site location to the extent the sign refers to the Trust Plan or Trust
        Property contemplated by this Trust Agreement or the Bylaws;

                        (b)     immediately destroy all stationery, descriptive literature or printed or written
        matter bearing the Marriott Marks;

                        (c)       immediately cease and desist from using the Marriott Marks (or any other
        variation thereof) orally or in writing in referring to or describing the Association or the Beneficiaries; and

                         (d)     take immediate action to effect changes to the documents of the Association
        reflecting the Marriott Marks to eliminate the use of such mark(s) as soon as possible, but in any event,
        within three (3) months.

                The provisions of this section shall survive the termination of the Trust and may be enforced by
        Developer, Trust Manager, or Marriott International Inc., and by any remedy at law or equity, including
        mandatory and/or prohibitory injunctions. By accepting a deed to an Interest, each Beneficiary
        acknowledges that in the event of non-performance of any of the above-described restrictions, the Trust
        Manager’s, Developer’s, and Marriot International Inc.’s remedies at law shall be deemed inadequate to
        enforce the terms of this section.

                 Section 13.4     Component and Trust Plan Management Agreements.By acceptance of a deed to
        an Interest(s), each purchaser acknowledges that the management agreements at each Component and
        the management agreement between Trust Manager and the Association are subject to termination in
        accordance with the respective terms and conditions of such agreements or pursuant to applicable state
        law and may be terminated without the approval of the Beneficiaries or the Association. Each purchaser
        acknowledges and agrees that in the event any such management agreement is terminated, the particular
        Component or the Trust Plan, as applicable, may no longer be branded as a “Marriott” resort or
        timeshare plan, managed by Trust Manager, Marriott International, Inc., or any affiliate or subsidiary
        thereof, or be held to the same brand standard typically associated with “Marriott” resorts and timeshare
        plans. Each purchaser further acknowledges and agrees that any such removal or loss of the “Marriott”
        brand, management, or standards shall not be grounds for any claim against Developer, Trust Manager,
        Association, Marriott International, Inc., or any affiliate or subsidiary thereof.

                 Section 13.5    Successors. The terms and conditions of this Trust Agreement shall inure to the
        benefit of and be binding upon any successor Trustee under this Trust Agreement, as well as upon the
        personal representatives, executors, administrators, heirs, assigns, and all other authorized successors in
        interest of Developer and the Beneficiaries. No party other than Developer shall exercise the rights and
        privileges reserved in this Trust Agreement to Developer unless such party receives and records in the
        Public Records of Orange County, Florida a written assignment from Developer of all or a portion of such
        rights and privileges.




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                 Section 13.6     Registered Agent for Service of Process. Trustee shall appoint a registered agent
        in Florida for service of process. In the event such a registered agent is not appointed, service of process
        may be obtained on Trustee pursuant to Section 721.265, Florida Statutes.

                Section 13.7    Headings. The paragraph headings or designations used throughout this Trust
        Agreement have been inserted solely for convenience in reference and shall in no way be taken to limit or
        extend the natural and proper construction or meaning of the language employed within the paragraph.

                Section 13.8     Interpretation. Any reference made in this Trust Agreement to any gender shall
        be deemed to include either masculine or feminine, as appropriate, and any reference to any number
        shall be deemed to include both singular and plural where the context of the provisions of this Trust
        Agreement shall permit or require. The term “include” and similar terms (e.g., includes, including,
        included, comprises, comprising, such as, e.g., and for example), when used as part of a phrase including
        one or more specific items, are used by way of example and not of limitation.

                 Section 13.9    No Third-Party Beneficiary. This Trust Agreement is solely for the benefit of the
        Parties and the Beneficiaries and no other person or persons shall have any rights or privileges under this
        Trust Agreement either as a third-party beneficiary or otherwise.

                Section 13.10 Enforceability. If it is determined that any of the provisions of this Trust
        Agreement or any part thereof, are invalid or unenforceable, the remainder of the provisions of this Trust
        Agreement shall not thereby be affected and shall be given full effect, without regard to the invalid
        portions. If any court determines that any of the covenants contained in this Trust Agreement are
        unenforceable because of the duration or scope of such provision, the duration or scope of such
        provision, as the case may be, shall be reduced so that such provision becomes enforceable and, in its
        reduced form, such provision shall then be enforceable and shall be enforced.

                 Section 13.11 Inquiries. Written inquiries, legal and other notices, tax statements and all other
        documents and writings received by Trustee and relating to this Trust Agreement or the Trust Property
        shall be sent and forwarded within a reasonable time, but in no event longer than three (3) business days,
        after receipt by Trustee to Developer.

                 Section 13.12 Conflicting Claims. Should Trustee receive conflicting notices or demands
        regarding any Interest or the transfer or other disposition thereof, Trustee may submit the matter to
        arbitration, seek an adjudication of the matter by interpleader or otherwise, demand that Developer
        promptly resolve the controversy by written agreement signed by both parties, or demand that
        Developer seek a declaratory judgment action or such other resolution as Trustee may demand, and
        Developer shall promptly do so. Trustee will be indemnified by the Association for all costs, expenses
        and reasonable attorneys’ fees in connection with such demand, declaratory judgment action, arbitration
        or interpleader action and will be fully protected by the Association in suspending all or part of its
        activities under this Trust Agreement with respect to the Interests in question until a final decision,
        including the expiration for the filing of all appeals to such decision is received.

                 Section 13.13 Tax Treatment.The Beneficiaries acknowledge and agree that the Board will have
        the sole discretion and authority to make or revoke any tax elections on behalf of the Trust.

              WITH RESPECT TO FEDERAL, STATE AND LOCAL TAX CONSEQUENCES OF ACQUIRING
        AN INTEREST AS THEY MAY RELATE TO AN INDIVIDUAL BENEFICIARY, EACH BENEFICIARY
        SHOULD CONSULT WITH AND RELY ON HER OR HIS OWN PROFESSIONAL TAX ADVISOR. IN
        NO EVENT SHOULD THE TRUST, THE DEVELOPER OR ANY OF THEIR RESPECTIVE AFFILIATES,
        COUNSEL OR ANY OTHER PROFESSIONAL ADVISORS OR COUNSEL ENGAGED BY ANY OF
        THEM, BE CONSIDERED AS PROVIDING LEGAL OR TAX ADVICE OR OPINIONS OR AS


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        GUARANTORS OF THE TAX CONSEQUENCES OF OWNERSHIP OF ANY INTEREST ACQUIRED
        FROM THE DEVELOPER. BENEFICIARIES SHOULD LOOK TO, AND SOLELY RELY ON, THEIR
        OWN PROFESSIONAL TAX ADVISORS WITH RESPECT TO THE TAX CONSEQUENCES OF
        OWNERSHIP OF ANY INTEREST ACQUIRED FROM THE DEVELOPER.Consumer Price Index. Unless
        otherwise prohibited by law or otherwise statutorily prescribed, any and all dollar limitations set forth in
        this Trust Agreement shall increase by a factor of the Consumer Price Index for All Urban Consumers, U.
        S. City Average, All Items (“CPI-U”), as published by the Bureau of Labor Statistics of the U.S.
        Department of Labor over the previous year’s CPI-U. In the event that the CPI-U is no longer published,
        then the Board shall select a comparable index to utilize.

                Section 13.15 Counterparts. This Trust Agreement may be executed in counterparts, each of
        which shall be deemed an original, but all of which taken together shall constitute one and the same Trust
        Agreement. A facsimile copy of this Trust Agreement or any addenda to this Trust Agreement and any
        signatures thereon shall be considered for all purposes as an original.

              Section 13.16 Other Plans. NO VACATION OWNERSHIP PLANS, TIMESHARE PLANS,
        FRACTIONAL PLANS, EXCHANGE PROGRAMS OR CLUB, OR TRAVEL OR VACATION CLUBS
        COMPRISED OF A TRUST, CORPORATION, COOPERATIVE, LIMITED LIABILITY COMPANY,
        PARTNERSHIP, EQUITY PLAN, NON-EQUITY PLAN, OR ANY SUCH OTHER SIMILAR PROGRAMS,
        STRUCTURES, SCHEMES, DEVICES OR PLANS OF ANY KIND: (A) SHALL BE CREATED,
        ESTABLISHED, OPERATED OR MAINTAINED WITH RESPECT TO THE TRUST PROPERTY; (B)
        SHALL ACQUIRE OR ACCOMMODATE ANY TRUST PROPERTY OR PORTIONS THEREOF; OR (C)
        SHALL BE PERMITTED TO INCORPORATE A TRUST PROPERTY OR PORTION THEREOF INTO
        SUCH ENTITY’S PROGRAM, STRUCTURE, SCHEME, DEVICE OR PLAN, EXCEPT BY DEVELOPER,
        TRUST MANAGER, OR AN AFFILIATE THEREOF, EXCEPT WITH THE PRIOR WRITTEN
        AUTHORIZATION FROM DEVELOPER, WHICH AUTHORIZATION MAY BE GIVEN OR WITHHELD
        IN DEVELOPER’S SOLE AND ABSOLUTE DISCRETION, AND WHICH AUTHORIZATION SHALL BE
        EVIDENCED BY A WRITTEN INSTRUMENT EXECUTED BY DEVELOPER, RECORDED IN THE
        PUBLIC RECORDS OF ORANGE COUNTY, FLORIDA, AND CONTAINING A REFERENCE TO THIS
        TRUST AGREEMENT AND THIS SECTION 13.16; PROVIDED, HOWEVER, THAT ANY TIMESHARE
        PLANS, FRACTIONAL PLANS, EXCHANGE PROGRAMS OR CLUB, OR TRAVEL OR VACATION
        CLUBS ENTERED INTO BY DEVELOPER, PROGRAM MANAGER OR AN AFFILIATE THEREOF
        WITH RESPECT TO THE TRUST PROPERTY OR ANY PORTION THEREOF SHALL BE DEEMED TO
        COMPLY WITH THIS SECTION 13.16. BY REFERENCE TO THIS SECTION 13.16, DEVELOPER
        HEREBY PROVIDES NOTICE THAT DEVELOPER, PROGRAM MANAGER OR AN AFFILIATE
        THEREOF MAY OPERATE AN EXCHANGE PROGRAM OR CLUB OR TRAVEL, VACATION OR
        MEMBERSHIP CLUB OR PLAN, THAT CERTAIN PROPERTY OR ACCOMMODATIONS MAY BE
        SUBMITTED INTO SUCH PLAN OR CLUB, RATHER THAN THE TRUST PLAN, AND/OR THAT THE
        TRUST PLAN MAY BE AFFILIATED WITH OR INCORPORATED INTO SUCH OTHER PLAN OR
        CLUB.

              Section 13.17 Waiver of Jury Trial. EACH OF THE PARTIES AND BENEFICIARIES HEREBY
        WAIVES ITS RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM OR CAUSE OF ACTION
        BASED UPON OR ARISING OUT OF THIS TRUST AGREEMENT. THE SCOPE OF THIS WAIVER IS
        INTENDED TO BE ALL ENCOMPASSING OF ANY AND ALL DISPUTES THAT MAY BE FILED IN
        ANY COURT AND THAT RELATE TO THE SUBJECT MATTER OF THIS AGREEMENT, INCLUDING
        CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL OTHER COMMON
        LAW AND STATUTORY CLAIMS.                 EACH OF THE PARTIES AND BENEFICIARIES
        ACKNOWLEDGES THAT THIS WAIVER IS A MATERIAL INDUCEMENT TO ENTER INTO OR
        ABIDE BY THIS TRUST AGREEMENT, THAT EACH HAS ALREADY RELIED ON THE WAIVER IN
        ENTERING INTO OR OWNING PROPERTY SUBJECT TO THIS TRUST AGREEMENT AND THAT
        EACH WILL CONTINUE TO RELY ON THE WAIVER IN THE FUTURE. EACH OF THE PARTIES

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        AND BENEFICIARIES FURTHER WARRANTS AND REPRESENTS THAT IT HAS REVIEWED THIS
        WAIVER WITH ITS LEGAL COUNSEL, AND THAT IT KNOWINGLY AND VOLUNTARILY WAIVES
        ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION WITH LEGAL COUNSEL. THIS WAIVER IS
        IRREVOCABLE, MEANING THAT IT MAY NOT BE MODIFIED EITHER ORALLY OR IN WRITING,
        AND THE WAIVER SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS, RENEWALS,
        SUPPLEMENTS OR MODIFICATIONS TO THIS TRUST AGREEMENT, OR TO ANY OTHER
        DOCUMENTS OR AGREEMENTS RELATING TO THIS TRUST AGREEMENT OR THE ASSOCIATION
        DOCUMENTS. IN THE EVENT OF LITIGATION, THIS TRUST AGREEMENT MAY BE FILED AS A
        WRITTEN CONSENT TO A TRIAL BY THE COURT.

                 Section 13.18 Attorneys’ Fees. If any action at law or in equity (including in appellate,
        bankruptcy, or probate proceedings) is brought to enforce any provision of this Trust Agreement, the
        prevailing party will be entitled to recover from the other party, as part of the prevailing party’s costs,
        reasonable attorneys’ fees (including paraprofessional fees), the amount of which will be fixed by the
        court and will be made a part of any judgment or decree rendered, in addition to any damages or other
        relief awarded by the court.

                 Section 13.19 Force Majeure. In the event that any party to this Trust Agreement is prevented
        from fully and timely performing any of its obligations hereunder due to acts of God, strikes and/or lock-
        outs, other industrial disturbances, acts of the public enemy, laws, rules and regulations of governmental
        authorities, wars or warlike action (whether actual, impending or expected, and whether de jure or de
        facto), arrest or other restraint of government (civil or military), blockades, insurrections, acts of terrorists
        or vandals, riots, epidemics, landslides, sinkholes, lightning, hurricanes, storms, floods, washouts, fire or
        other casualty, condemnation, earthquake, civil commotion, explosion, breakage or accident to
        equipment or machinery, any interruption of utilities, confiscation or seizure by any government or
        public authority, nuclear reaction or radiation, radioactive contamination, accident, repairs or other
        matter or condition beyond the reasonable control of either party (collectively called “Force Majeure”)
        such party shall be relieved of the duty to perform such obligation until such time as the Force Majeure
        has been alleviated; provided, that upon the removal of the Force Majeure, the obligation prevented from
        being fulfilled will be automatically reinstated without the necessity of any notice whatsoever.




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               IN WITNESS WHEREOF, the Parties have executed this Trust Agreement this ___ day of
        _______________, 200__.



                                                    TRUSTEE:

                                                    ____________________________________________,
                                                    not individually, but solely in capacity as Trustee


                                                    By:
                                                    Name:
                                                    Its:


                                                    DEVELOPER:

                                                    Marriott Ownership Resorts, Inc., a Delaware
                                                    corporation


                                                    By:
                                                    Name:
                                                    Its:



                                                    ASSOCIATION:

                                                    MVC Trust Owners Association, Inc., a Florida not-
                                                    for-profit corporation


                                                    By:
                                                    Name:
                                                    Its:




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                                                  EXHIBIT A
                                    ASSOCIATION ARTICLES OF INCORPORATION




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                                                     EXHIBIT B
                                                ASSOCIATION BYLAWS




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